                                 EXHIBIT 2

                       KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                Elaine Garrett on 04/03/2019                             ·

 ·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · FOR THE EASTERN DISTRICT OF NORTH CAROLINA

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 ·6· ·KAREN CAHOON, AS EXECUTRIX· ·)

 ·7· ·OF THE ESTATE OF GRACE· · · ·)

 ·8· ·WEBSTER, DECEASED,· · · · · ·)

 ·9· · · · · · · · · · · · · · · · )

 10· · · · · · · · · ·Plaintiff,· ·) Civil Action No:

 11· · · · · · · · · · · · · · · · ) 2:17-CV-63-D

 12· ·v.· · · · · · · · · · · · · ·)

 13· ·EDWARD ORTON, JR., CERAMIC· ·)

 14· ·FOUNDATION, METROPOLITAN LIFE)

 15· ·INSURANCE COMPANY, and· · · ·)

 16· ·UNION CARBIDE CORPORATION,· ·)

 17· · · · · · · · · · · · · · · · )

 18· · · · · · · · · · Defendants. )

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 · ·   ·   ·   ·   ·   ·   ·   ·DEPOSITION UPON ORAL EXAMINATION
 22·   ·   ·   ·   ·   ·   ·   · · · · ·OF ELAINE GARRETT
 · ·   ·   ·   ·   ·   ·   ·   TAKEN ON BEHALF OF THE DEFENDANTS
 23·   ·   ·   ·   ·   ·   ·   · ELIZABETH CITY, NORTH CAROLINA
 · ·   ·   ·   ·   ·   ·   ·   · · · · · ·April 3, 2019
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        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 1 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                     Pages 2..5
                                                         Page 2                                                              Page 3
·1· ·APPEARANCES:                                                 ·1· · · · · · · · · · · · · ·I N D E X
·2                                                                ·2· ·DEPONENT· · · · · · · · · · · · · · · · · · · ·PAGE

·3· · · · · · · ·SIMMONS HANLY CONROY                             · · ·Elaine Garrett· · · ·By Ms. Drayton· · · · · · · 4
                                                                  ·3· · · · · · · · · · · · By Mr. Sealey
·4· · · · · · · ·ONE COURT STREET
                                                                  ·4
·5· · · · · · · ·ALTON, ILLINOIS 62002
                                                                  ·5· · · · · · · · · · · ·E X H I B I T S
·6· · · · · · · ·BY:· JAMES ANDREW SEALEY, ESQUIRE
                                                                  ·6· ·NO.· DESCRIPTION· · · · · · · · · · · · · · · ·PAGE
·7· · · · · · · · · · Counsel for the Plaintiff                   · · ·Exhibit 1· · Notice of Deposition· · · · · · · · · · · · 6
·8                                                                ·7· ·Exhibit 2· · Affidavit of Elaine Garrett· · · · · · · · 38
·9· · · · · · · ·DEAN & GIBSON, PLLC                              · · ·Exhibit 3· · Affidavit of Mark Lawson· · · · · · · · · ·44
10· · · · · · · ·301 S. MCDOWELL STREET, SUITE 604                ·8
11· · · · · · · ·CHARLOTTE, NORTH CAROLINA 28204                  ·9

12· · · · · · · ·BY:· AMY C. DRAYTON, ESQUIRE                     10
                                                                  11
13· · · · · · · · · · Counsel for Edward Orton, Jr., Ceramic
                                                                  12
14· · · · · · · · · · Foundation
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                                                                  14
16                                                                15
17                                                                16
18                                                                17
19                                                                18

20                                                                19
                                                                  20
21
                                                                  21
22
                                                                  22
23
                                                                  23
24                                                                24
25                                                                25

                                                         Page 4                                                              Page 5
·1·   · · · · · · ·Deposition Upon Oral Examination of ELAINE     ·1·   ·questions that you can anticipate and give the response.
·2·   ·GARRETT, taken on behalf of the Defendants, before Bria    ·2·   ·If you will just pause so that she can record those, and
·3·   ·Pintado, a Notary Public for the State of North Carolina   ·3·   ·I will try to do the same and not speak at the same
·4·   ·at large, taken by agreement of counsel, commencing at     ·4·   ·time.
·5·   ·11:29 a.m. on April 3, 2019, at the College of the         ·5·   · · · · If you will also -- sometimes like a
·6·   ·Albemarle, 1208 N. Road Street, Elizabeth City, North      ·6·   ·conversation, we like to shake our heads yes or no or
·7·   ·Carolina.                                                  ·7·   ·say "uh-huh" or "huh-uh," and that's literally how it
·8                                                                ·8·   ·gets recorded, so when we go back and look at it, it's
·9·   · · · · · · · · · · · ·EXAMINATION                          ·9·   ·hard to figure out was that a "yes" or was that a "no"
10·   ·BY MS. DRAYTON:                                            10·   ·--
11·   · · Q.· Good morning, Ms. Garrett.· My name is Amy          11·   · · A.· Okay.
12·   ·Drayton, and I represent the Edward Orton Foundation in    12·   · · Q.· -- or just nodding the head, so if you will try
13·   ·a lawsuit that's been filed by Karen Cahoon.               13·   ·and say "yes" or "no."· I'm bad about looking at you. I
14·   · · · · Before we get started, if you could just state      14·   ·know what you're saying so I don't even stop, I just
15·   ·your full name for the record.                             15·   ·keep going, but if you will help me remember to do that,
16·   · · A.· Elaine White Garrett.                               16·   ·that will be very helpful.
17·   · · Q.· And, Ms. Garrett, just to make things a little      17·   · · · · If you do get hungry, feel free to eat your
18·   ·bit easier, although I don't think we are going to be      18·   ·lunch.· I appreciate you taking the time to do that.
19·   ·here that long, have you ever given a deposition before?   19·   · · A.· Okay.
20·   · · A.· No, I haven't.                                      20·   · · Q.· For -- let me say this:· If I at any point ask
21·   · · Q.· Okay.· I'm just going to say a couple of ground     21·   ·any bad questions, which inevitably is going to happen,
22·   ·rules.· It's much like a conversation where we are         22·   ·please ask me to repeat it or rephrase it.· If my
23·   ·talking back and forth.· For purposes of the court         23·   ·questions don't make sense, let me know, and I will ask
24·   ·reporter, if we'll just try not to talk over each other    24·   ·a better question.
25·   ·at the same time.· I'm going to ask you some pretty easy   25·   · · · · If you are able to answer my questions or you do


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 2 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                     Pages 6..9
                                                         Page 6                                                            Page 7
·1·   ·answer them, then I will assume that you understood it     ·1·   ·jurors from this area, so I'm just trying to get a good
·2·   ·and were able to answer.· Is that fair enough?             ·2·   ·idea of how long you've lived here, who you have known,
·3·   · · A.· Yes.                                                ·3·   ·if you will know anyone in the potential jury pool, all
·4·   · · · · · · ·(Notice of Deposition marked as Deposition     ·4·   ·those kinds of things.
·5·   · · · · · · ·Exhibit No. 1)                                 ·5·   · · A.· Okay.
·6·   · · · · · · ·MS. DRAYTON:· I'm just going to introduce      ·6·   · · Q.· Are you originally from Elizabeth City?
·7·   ·here as Exhibit 1 -- and, Drew, I only had one copy of     ·7·   · · A.· Well, actually, I'm from Hertford, North
·8·   ·this, if that is okay -- the notice of deposition and      ·8·   ·Carolina, and I moved in Elizabeth City -- oh, gee, I
·9·   ·subpoena.                                                  ·9·   ·don't know the year.· I was 13 years old, and I'm 62 now
10·   ·BY MS. DRAYTON:                                            10·   ·so.
11·   · · Q.· I just want to show you that Ms. Garrett and ask    11·   · · Q.· Okay.· Thank you.· I always hate to ask folks
12·   ·you did receive that in the mail, gosh, within the last    12·   ·their age.· I appreciate you volunteering that.· Not to
13·   ·few days?                                                  13·   ·be nosy.· Just to get a good idea what --
14·   · · A.· Yes, I got it Friday.                               14·   · · A.· It is what it is.
15·   · · Q.· Okay.· Perfect.· You have a copy right there with   15·   · · Q.· And are you currently married?
16·   ·you.                                                       16·   · · A.· Yes, I am.
17·   · · A.· Um-hmm.                                             17·   · · Q.· And what is your husband's name?
18·   · · Q.· And just want to put that in as an exhibit.         18·   · · A.· Lloyd Garrett.
19·   · · · · And is your address listed there on the front       19·   · · Q.· Okay.· And how long have you been married?
20·   ·under the bold lettering, is that your current address?    20·   · · A.· It will be 37 years this year.
21·   · · A.· Yes, it is.                                         21·   · · Q.· Congratulations.· Again, that's not intended to
22·   · · Q.· Okay.· Perfect.· I will also tell you I am just     22·   ·test your memory there.
23·   ·going to ask you a few background questions.· They are     23·   · · · · And do you have children and family that live in
24·   ·not intended to be nosy for any purposes.· For any         24·   ·the general area?
25·   ·reason if this case were to go to trial, we would have     25·   · · A.· I don't have any children.

                                                         Page 8                                                            Page 9
·1·   · · Q.· Okay.                                               ·1·   · · A.· Yes.
·2·   · · A.· But I do have family -- well, they're not --        ·2·   · · Q.· Can't always say that for folks.
·3·   ·they're, like, Edenton, North Carolina.                    ·3·   · · A.· Two jobs.
·4·   · · Q.· Okay.· What county is that, do you know?            ·4·   · · Q.· Yes, ma'am.· That is a good record.
·5·   · · A.· Chowan County.· I live in Perquimans, and I have    ·5·   · · A.· Yes.
·6·   ·one brother that lives in Perquimans.                      ·6·   · · Q.· And I believe you already answered this question:
·7·   · · Q.· Clemmons County?                                    ·7·   ·Were you 18 years old when you first started working at
·8·   · · A.· Perquimans.                                         ·8·   ·Ceramics by Stu-doodle?
·9·   · · Q.· Okay.· And, Ms. Garrett, of course, what we're      ·9·   · · A.· No, I don't believe I was 18.· I got -- I started
10·   ·here to talk about today is your prior employment with a   10·   ·right out of school, right when I graduated and --
11·   ·company called Ceramics by Stu-doodle.· I understand       11·   · · Q.· Okay.
12·   ·that you worked for that company once upon a time?         12·   · · A.· -- half a year in '74.· I think I was maybe
13·   · · A.· Yes, I did.                                         13·   ·almost 17.
14·   · · Q.· Okay.· You can tell me when you first started       14·   · · Q.· Okay.
15·   ·working there.                                             15·   · · A.· Yeah.· Anyway, I think it was a little bit before
16·   · · A.· I started in I believe it was February -- I know    16·   ·18.
17·   ·it's 1974.· Right when I graduated from high school, and   17·   · · Q.· Okay.· Sure.· And what took you to Ceramics by
18·   ·I worked there until 1984, May, when I started my          18·   ·Stu-doodle?
19·   ·current job now.                                           19·   · · A.· I lived about a mile from there.· At the time, I
20·   · · Q.· And what do you currently do?                       20·   ·was living in Elizabeth City.· Well, that was outskirts
21·   · · A.· I'm an account manager in sales.                    21·   ·of Elizabeth City, and I was best friends with their
22·   · · Q.· Okay.· And what's the company that you work for?    22·   ·daughter.
23·   · · A.· Universal Forest Products.                          23·   · · Q.· Okay.· And I think you're anticipating my
24·   · · Q.· Well, congratulations on a long employment          24·   ·question.· When you said "their daughter," that's the
25·   ·history there.· That makes that a whole lot easier.        25·   ·owner?


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 3 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 10..13
                                                        Page 10                                                           Page 11
·1·   · · A.· Well, it's Marie and Eddie Stuart were the          ·1·   · · Q.· Did Lisa Stuart also work there?
·2·   ·owners, and Lisa at that time was their daughter.          ·2·   · · A.· She -- a little bit, yes, she did.· She did a
·3·   · · Q.· Okay.· Marie and Eddie Stuart owned Ceramics by     ·3·   ·little bit of the bookkeeping I think for her mother,
·4·   ·Stu-doodle?                                                ·4·   ·and we worked together a little bit.· It was a ceramic
·5·   · · A.· Yes, they did.· They were originally I think        ·5·   ·shop, so we poured molds then sold to the public.· We
·6·   ·from, like, Virginia Beach, and they had just moved down   ·6·   ·sold to a lot of -- at that time, ceramics was a big
·7·   ·here maybe a year or two --                                ·7·   ·thing, and they were, like, the wholesale company.· We
·8·   · · Q.· Okay.                                               ·8·   ·did some retail, and people would come there and buy the
·9·   · · A.· -- before I started, so it was like a new           ·9·   ·raw materials and supplies.
10·   ·business.                                                  10·   · · Q.· Okay.· What do you mean by it was a "wholesale
11·   · · Q.· Okay.· Do you know -- so they started the           11·   ·company?"
12·   ·business a year or two before you started working --       12·   · · A.· It was like -- well, they sold a lot of greenware
13·   · · A.· Yeah.· I'm not sure how long it was there, but I    13·   ·is what they called the pottery type that they made out
14·   ·know then they moved down here.· Lisa and I became         14·   ·of the molds, and they would sell it to, like, naval
15·   ·friends because I lived near there.                        15·   ·bases, and I guess that was what I mean by wholesale
16·   · · Q.· And Lisa Stuart is the daughter's name?             16·   ·because then we would have dealers come in that they had
17·   · · A.· Yeah, that was her name then.· She is Lisa          17·   ·ceramic shops and buy supplies.
18·   ·Winslow now.                                               18·   · · Q.· Okay.
19·   · · Q.· Lenslow?                                            19·   · · A.· And they were teaching classes, you know,
20·   · · A.· Winslow.                                            20·   ·ceramics classes.· It was just a thing at that time.
21·   · · Q.· "Winslow."                                          21·   · · Q.· Okay.· I'm going to come back to that and ask you
22·   · · · · Okay.· And if I don't catch it, the court           22·   ·in just a moment.
23·   ·reporter may ask you some spellings when we're done        23·   · · A.· Okay.
24·   ·here.                                                      24·   · · Q.· Marie and Eddie Stuart, do you know how long the
25·   · · A.· Sure.· Sure.                                        25·   ·store was open or how long it was there in business?

                                                        Page 12                                                           Page 13
·1·   · · A.· I really don't know exactly when they closed.       ·1·   · · A.· But -- I can't remember all the names, but --
·2·   ·Maybe -- I know I was there 10, and I think they were      ·2·   · · Q.· Sure.
·3·   ·open another -- I don't even know.· It was 10 more than    ·3·   · · A.· Yeah.· But that was the main people --
·4·   ·years after that.· It was either 15 or 20.· I don't        ·4·   · · Q.· I'm sorry.· Go ahead.
·5·   ·think any longer.                                          ·5·   · · A.· I'm sorry.
·6·   · · Q.· Okay.                                               ·6·   · · Q.· That's what I meant.· I'm looking down so feel
·7·   · · A.· I'm not sure.                                       ·7·   ·free.· I just don't want to interrupt you.
·8·   · · Q.· So maybe the early '90s, is that the time period?   ·8·   · · · · Marie and Lisa Stuart, do you know if they are
·9·   · · A.· Probably I'm thinking.                              ·9·   ·still in the area or they still live --
10·   · · Q.· Okay.· So they didn't sell @business to anyone,     10·   · · A.· They are --
11·   ·it just --                                                 11·   · · Q.· Okay.
12·   · · A.· No, it just -- yeah, he passed away.· The --        12·   · · A.· They live -- they're still near where the shop
13·   ·Eddie did.· I'm not sure the year.· I would have to -- I   13·   ·was.· The shop's been torn down.· Marie, I always
14·   ·don't know right off, and then they just ended up          14·   ·referred to her as Ms. Stuart.· I never called her by
15·   ·closing shop.                                              15·   ·her first name, but she's, like, 94 now, and from what I
16·   · · Q.· Okay.· And do you know when you were working        16·   ·understand, she has dementia and Lisa, her daughter,
17·   ·there who else was working there about the same time,      17·   ·lives kind of, like -- they're right beside each other.
18·   ·names of anyone?                                           18·   · · Q.· Okay.· How do you know -- I'm going to jump
19·   · · A.· There was Ray Eason, which she's deceased now.      19·   ·around from topic to topic --
20·   ·She was an older lady; Bonnie Hoffman; and there was       20·   · · A.· Sure.
21·   ·Ricky Upton.· When I first started there, wasn't -- or I   21·   · · Q.· -- Karen Cahoon?
22·   ·think Ricky came later.· Bonnie came later, but Ray, she   22·   · · A.· Well, her mother, which I know as Holly, that was
23·   ·may have been there at the time.· Then there was a         23·   ·her -- is Grace -- I think would come there and buy her
24·   ·couple of people that just worked just a short while.      24·   ·supplies from Stu-doodle, and Karen would come with her.
25·   · · Q.· Okay.                                               25·   ·That's how I know.· I would see her with her mother.


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 4 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 14..17
                                                        Page 14                                                           Page 15
·1·   · · Q.· Okay.· Are you related in any way?                  ·1·   ·We were -- like I said, because I refer to it as
·2·   · · A.· No, I'm not.                                        ·2·   ·wholesale, we didn't have that much walk-in trade. I
·3·   · · Q.· Okay.· When -- have you talked to her in the last   ·3·   ·would pour -- I did a lot of pouring of the molds to
·4·   ·year, Karen Cahoon?                                        ·4·   ·make the greenware, and then if a customer came in, I
·5·   · · A.· I -- well, it's kind of -- no, I've only seen her   ·5·   ·would wait on them.
·6·   ·one time in the last year and that's when her              ·6·   · · Q.· Okay.
·7·   ·brother-in-law had a heart attack, and I went -- we        ·7·   · · A.· Then we did hire some more people, you know, as
·8·   ·worked with his wife, Terry, which is Karen's              ·8·   ·time went on as they got a little bit busier, you know,
·9·   ·sister-in-law.                                             ·9·   ·to do the pouring and the molds, and then I worked
10·   · · · · When we went up to the hospital to see him, Karen   10·   ·mostly in the sales.
11·   ·came in, and that's the first time I saw her, and she      11·   · · Q.· Okay.· I know a little bit about the pouring or
12·   ·mentioned this -- the case to me, and I have not seen      12·   ·making the molds.· What products did you use to make
13·   ·her or talked to her since.                                13·   ·those molds?
14·   · · Q.· Okay.· At that point, did she ask you to prepare    14·   · · A.· It was, like -- they call it slip.· It was just a
15·   ·an affidavit in this case?                                 15·   ·liquid clay.· It was not the pottery type of course.
16·   · · A.· She asked for my phone number, said someone would   16·   ·They did sell that, but it was just liquid slip.· That's
17·   ·-- you know, if I didn't mind giving her my number for     17·   ·all.
18·   ·somebody to contact me, and I said, yes, it would be       18·   · · Q.· Okay.
19·   ·okay.                                                      19·   · · A.· That we would just pour in the molds and let it
20·   · · Q.· Okay.· I'm going to come back and ask you about     20·   ·sit for a while, and then they'd dump it out, and then
21·   ·that.· When.                                               21·   ·when the molds were ready, when it just hardened some,
22·   · · · · You were working at Ceramics by Stu-doodle, what    22·   ·we would take it out and put it on the shelf, and that
23·   ·were your job responsibilities or duties?· I don't know    23·   ·was kind of the greenware process.
24·   ·if you had a title --                                      24·   · · · · And then it would sit a day, you know, to dry
25·   · · A.· Well, I kind of -- well, my title was in sales.     25·   ·where we would put it out in the sales area for sale or

                                                        Page 16                                                           Page 17
·1·   ·keep it in the back, you know, for orders because mostly   ·1·   ·will mix with water and different ingredients to make
·2·   ·they would pour for orders they had to go out.             ·2·   ·the slip.
·3·   · · Q.· Okay.· The slip product that you used -- I really   ·3·   · · Q.· Okay.· Sure.· And do you know who made that
·4·   ·want to test your memory -- do you know what it was        ·4·   ·five-pound bag, do you remember?
·5·   ·called?                                                    ·5·   · · A.· I have no idea.· I do not.
·6·   · · A.· They just call it slip.· That's all I know.         ·6·   · · Q.· Don't remember, like, a name of the --
·7·   · · Q.· I'll ask you a better question.· Do you know who    ·7·   · · A.· I don't.
·8·   ·made it or can you describe --                             ·8·   · · Q.· -- Chick-fil-a, a name on the bag or anything
·9·   · · A.· Well, we made it there.· It was --                  ·9·   ·like that?
10·   · · Q.· Okay.                                               10·   · · A.· No, I do not.· I don't remember it.
11·   · · A.· -- they would buy the powder.· It came in bags      11·   · · Q.· I know you mentioned other dry products?
12·   ·and all the ingredients, and it -- Edward Stuart would     12·   · · A.· Yes.
13·   ·mix it up together in a tank and, like, people would       13·   · · Q.· Did you all sell, like, bags so that someone --
14·   ·come there with buckets and then fill the buckets for      14·   · · A.· Um-hmm.· Nobody could purchase it.· The only
15·   ·them, so they would buy the slip from us and then -- but   15·   ·thing they could buy was the slip, the liquid.
16·   ·it was a product that we made.                             16·   · · Q.· Okay.· And so you didn't sell -- again, I'm just
17·   · · Q.· Okay.· So would it be, like, a five-pound bag of    17·   ·going to go with a number, like, a paint can, a gallon
18·   ·dried powder --                                            18·   ·of wet slip with the lid on it and a prepackage that
19·   · · A.· Yeah, probably -- well --                           19·   ·somebody else made and --
20·   · · Q.· -- or --                                            20·   · · A.· Not that anybody else made, uh-uh.· It was all
21·   · · A.· -- 10 maybe.                                        21·   ·made there.
22·   · · Q.· Okay.                                               22·   · · Q.· Okay.
23·   · · A.· It would come, like, on a railroad car, and then    23·   · · A.· And you could get, like, a two-gallon bucket or
24·   ·when the car came in I think up here in town, they         24·   ·five.· Mostly it was, like, two -- anyway, it was a
25·   ·would, you know, go pick it up then take it back, and it   25·   ·small bucket because that -- you know, where you can


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 5 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 18..21
                                                        Page 18                                                           Page 19
·1·   ·handle it.· You know, like, if a lady or anybody came      ·1·   · · Q.· Okay.· And I know I've already asked about in
·2·   ·and bought slip, they could load it -- you know, we had    ·2·   ·terms of the wholesale, they -- you sold mostly -- or
·3·   ·somebody there to load it, but it was more manageable in   ·3·   ·you described it as a wholesale business?
·4·   ·the smaller buckets.                                       ·4·   · · A.· Yes.
·5·   · · Q.· Okay.                                               ·5·   · · Q.· So were Ceramics by Stu-doodle selling to other
·6·   · · A.· And then they did have some bigger five-gallon      ·6·   ·distributors or other folks that sold --
·7·   ·buckets also.                                              ·7·   · · A.· Well, they -- no, because there used to be a
·8·   · · Q.· Okay.· That's helpful.                              ·8·   ·distributor in Norfolk.· We -- they were, like, in
·9·   · · · · Do you know where -- I know you mentioned it came   ·9·   ·competition, same.· They were called Pottery Arts, and
10·   ·in on a railroad car.· Do you know where it was            10·   ·we were Stu-doodle, but we would be -- that's how -- why
11·   ·purchased from?                                            11·   ·I call it, like, a wholesale.· People would just come
12·   · · A.· No, not the bag.· The dry material, I sure don't.   12·   ·and buy from us because we had the retail people, and
13·   ·I don't have any -- I have no idea.· I don't remember      13·   ·people, if they had a shop and they had license, we
14·   ·that.                                                      14·   ·would sell wholesale to them or, yeah, give them a
15·   · · Q.· Sure.· This isn't a test.                           15·   ·discount.
16·   · · A.· Probably at that time I did, but --                 16·   · · Q.· Okay.· In terms of the clients and the time
17·   · · Q.· It's been a while?                                  17·   ·period that you were there, would you say you sold
18·   · · A.· -- it's been a long time.                           18·   ·mostly to retail people as you described it?
19·   · · Q.· Okay.· How large was the store, the Ceramics by     19·   · · A.· No, not mostly retail.· We had -- most of the
20·   ·Stu-doodle, just in terms --                               20·   ·retail people would buy from the shops that we sold to
21·   · · A.· It was an old schoolhouse originally that they      21·   ·because there were several shops that were set up, and
22·   ·converted into -- well, they actually lived in it.· One    22·   ·we sold to people in Ahoskie and some in Virginia, too.
23·   ·part of it, they converted into their home.· The other     23·   ·Some would come down.
24·   ·part was the shop, so it was big.· It had tall ceilings.   24·   · · · · I remember Ahoskie because there were ladies --
25·   ·It was just a pretty big place.                            25·   ·there was a school there that -- you know, a lot of

                                                        Page 20                                                           Page 21
·1·   ·these schools would have programs where they would teach   ·1·   ·and it was just a round gallon jug.· I forgot about
·2·   ·ceramics --                                                ·2·   ·that.
·3·   · · Q.· Sure.                                               ·3·   · · Q.· Okay.· Do you remember who -- when you say you
·4·   · · A.· -- so -- and then of course people like Holly --    ·4·   ·bought that from the manufacturer --
·5·   ·and we had -- there was several shops that were in         ·5·   · · A.· Oh, gosh.· What was that porcelain by?· I'm not
·6·   ·Elizabeth City, Edenton, surrounding areas that would      ·6·   ·sure.· I'm thinking Gare.· We bought a lot from G-a-r-e,
·7·   ·buy from us, and then we would have some people -- some    ·7·   ·which we were a distributor for their paints, their
·8·   ·of their customers were walk-in maybe, the retail          ·8·   ·kilns, and I think it was the porcelain came from them,
·9·   ·people, and buy if they needed a little something, but     ·9·   ·too.
10·   ·mostly, they bought from what we call our dealers.         10·   · · Q.· And I believe you said the distributor for Gare
11·   · · Q.· Okay.· What other products or materials or what     11·   ·for their paint and the kilns?
12·   ·all did Ceramics by Stu-doodle sell other than slip that   12·   · · A.· Um-hmm.
13·   ·we've talked about?                                        13·   · · Q.· Did Ceramics by Stu-doodle actually sell kilns?
14·   · · A.· Okay.· Yeah, they sold the greenware, they sold     14·   · · A.· Yes, they did.· They sold Gare kilns.· As a
15·   ·paints.· They did sell the molds like you could pour.      15·   ·matter of fact, I had even gotten one.· I had purchased
16·   ·They would buy molds, and they bought -- they sold the     16·   ·one, and then they sold the supplies that go in the kiln
17·   ·cones for firing kilns, to fire the material in, brushes   17·   ·like the stilts I think we call them, and then the posts
18·   ·that you would paint with.· Paint, the -- let's say they   18·   ·where you put shelves, and then there would be the kiln
19·   ·just sold a little bit of the clay, like -- but not much   19·   ·wash that you would paint on the shelves to keep the
20·   ·because the people that did the pottery type would buy     20·   ·stuff from adhering to the shelf.
21·   ·-- they had their own places they would buy from.          21·   · · · · Of course, you had the stilts that keep it off
22·   · · · · Now, the only prepackaged slip that we would buy    22·   ·the shelf, but then it had to be coated in this -- I
23·   ·would be porcelain, which was a completely different       23·   ·don't remember.· It's a lot of memory here.
24·   ·product.· It's more delicate, and we would buy that from   24·   · · Q.· Sure.
25·   ·the manufacturer, and we would sell that by the gallon,    25·   · · A.· You know, I'm trying to think back.· So they


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 6 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 22..25
                                                        Page 22                                                           Page 23
·1·   ·would sell all -- any kind of products that would go       ·1·   ·fired in the kiln.
·2·   ·with ceramics.                                             ·2·   · · · · And then once -- there was a type of paint where
·3·   · · Q.· Okay.· And in terms of the -- are there any other   ·3·   ·you could paint on the greenware, and then put it in the
·4·   ·slip products other than the ones that you all mixed       ·4·   ·kiln, fire it, then you would put this glaze on it to
·5·   ·there in-house, the dry bags that -- you didn't sell       ·5·   ·make it have color.
·6·   ·those to anyone?                                           ·6·   · · Q.· Okay.
·7·   · · A.· No, we didn't.                                      ·7·   · · A.· So it's just, like, a finish, hard finish type.
·8·   · · Q.· Any other type of slip products?                    ·8·   · · Q.· Okay.· The -- just going back to Gare, is it
·9·   · · A.· Just the porcelain.                                 ·9·   ·possible that Gare supplied those large bags of --
10·   · · Q.· Okay.· "Porcelain?"                                 10·   ·10-pound bags of slip?
11·   · · A.· The porcelain, that was the only -- only other      11·   · · A.· I don't know.
12·   ·that would -- yeah, because the regular was just a --      12·   · · Q.· Not sure?
13·   ·what we call greenware that you use the slip to make the   13·   · · A.· I hate to say.
14·   ·greenware.                                                 14·   · · Q.· Okay.
15·   · · · · The regular ceramics that's what you call           15·   · · A.· But could be a possibility.· I don't know. I
16·   ·ceramics, and then porcelain was the real delicate -- it   16·   ·don't know if I've got any -- I don't know.
17·   ·required higher firing and different kind of paints.· It   17·   · · Q.· Okay.· This is -- some information's new to me,
18·   ·was a different product, but they still sold it.           18·   ·too.· That's why I'm trying to figure out --
19·   · · Q.· Okay.· And the glazes, is that the same thing as    19·   · · A.· Yeah.
20·   ·the paint?· Are those two different things --              20·   · · Q.· -- gather information here.
21·   · · A.· Yes, it's a paint.· The glazes is what you would    21·   · · · · I think you may have already answered one of
22·   ·paint on the porcelain -- okay.· Not porcelain.            22·   ·these questions, and I can't remember the name that you
23·   · · · · When you had the greenware, you would have to       23·   ·said, but in terms of competitors of Ceramics by
24·   ·clean it, which created the dust because it would be       24·   ·Stu-doodle, who else in the area --
25·   ·just greenware, very breakable, and it will have to be     25·   · · A.· There was -- well, there was a Pottery Arts, and

                                                        Page 24                                                           Page 25
·1·   ·they were in Virginia.· I'm thinking they were in          ·1·   · · A.· That sounds like it could be.
·2·   ·Norfolk.· I don't even know if they are still open or      ·2·   · · Q.· Okay.
·3·   ·not.                                                       ·3·   · · A.· Yeah.
·4·   · · Q.· Okay.                                               ·4·   · · Q.· Did you ever visit that store --
·5·   · · A.· I've never been there, but I know they were --      ·5·   · · A.· I did not.
·6·   ·they sold a different brand of paint than we did.          ·6·   · · Q.· -- yourself?
·7·   ·That's basically how I know because we sold Gare.          ·7·   · · · · Okay.· Can you think of any other competitors or
·8·   · · · · And then there was a paint, Africana, I believe     ·8·   ·other folks in the general area, and I would mean here
·9·   ·was the name, and that was a type of paint -- I know       ·9·   ·in Eastern North Carolina or I guess that would be
10·   ·Gare.· We used mostly their glaze, which was what you      10·   ·Southeast Virginia, other competitors that sold ceramic
11·   ·would put on after it had been fired, and you would        11·   ·supplies or products?
12·   ·paint the green product to make that glossy finish.        12·   · · A.· They're the only ones really that I remember, you
13·   · · · · And then there's a paint you would have to fire     13·   ·know, because I know some of our customers would buy
14·   ·the material first, which it turns the greenware into      14·   ·from us, and then they would buy from Pottery Arts, and
15·   ·bisque.· What they call bisque, and then you would paint   15·   ·you know, I remember hearing the boss, they would --
16·   ·it.· We used mostly the Africana -- I think that's the     16·   ·that was, like, don't talk about them --
17·   ·name -- brand for that, and that was just where you        17·   · · Q.· Okay.
18·   ·would just paint it.                                       18·   · · A.· -- in the shop because it was a competitor.
19·   · · · · And then you could spray it with -- they did        19·   · · Q.· Okay.· Well, that was one of my questions.· Would
20·   ·carry spray.· I forgot that.· That was -- could be matte   20·   ·Ceramics by Stu-doodle ever buy things from Pottery
21·   ·or gloss just to kind of seal it.                          21·   ·Arts --
22·   · · Q.· Okay.· The Pottery Arts, do you know if that        22·   · · A.· No.
23·   ·store is by chance -- or if it was at the time off of      23·   · · Q.· -- to sell --
24·   ·Witchduck Road in Virginia, and I asked @Karen described   24·   · · A.· Uh-uh.
25·   ·for us a store that she would visit --                     25·   · · Q.· -- for resale?


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 7 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 26..29
                                                        Page 26                                                           Page 27
·1·   · · · · Okay.· In terms of your responsibilities at the     ·1·   ·pick up molds from the companies up north that we -- if
·2·   ·store, were you responsible for purchasing products and    ·2·   ·-- and they may be gone just a weekend, but really, they
·3·   ·materials --                                               ·3·   ·were there most of the time.
·4·   · · A.· No, I didn't do it.· That was Marie Stuart.· She    ·4·   · · Q.· Okay.· When you say they will go up north to
·5·   ·did, her and Eddie, but I think Mrs. Stuart did.· She      ·5·   ·purchase some of the products, what do you mean by that?
·6·   ·would do all the purchasing.                               ·6·   · · A.· Well, like, the molds that we would -- there was
·7·   · · Q.· Okay.· And I'm really bad about this.· I'm just     ·7·   ·-- instead of having them shipped -- a lot of times we
·8·   ·going to tell you for your purposes, I'm going -- I know   ·8·   ·had -- most everything was shipped in, but a lot of the
·9·   ·my questions are really easy to anticipate your answers,   ·9·   ·molds, they would go to the companies and buy.· There
10·   ·but I'm just going to finish and try not to talk over      10·   ·was one, like, White Plains.
11·   ·you either.· I think the court reporter, will make it      11·   · · · · Well, that way they would go, and then they would
12·   ·easier for her.                                            12·   ·see the new molds that maybe come out, and if they were
13·   · · · · So Marie and Eddie Stuart did most of the           13·   ·having a mold show, and that was just the molds were
14·   ·purchasing from other companies, like, for example         14·   ·just what they would use to pour the slip into to make
15·   ·buying from Gare?                                          15·   ·the greenware.
16·   · · A.· Yes.                                                16·   · · · · And a lot of companies would order ahead or
17·   · · Q.· Okay.· Were there any other employees there that    17·   ·dealers that we dealt with if, you know, we had books
18·   ·did purchasing other than the two of them?                 18·   ·where the mold companies would send us a catalog, they
19·   · · A.· No.                                                 19·   ·would pick out molds that they want, and they would
20·   · · Q.· Okay.                                               20·   ·occasionally go up.
21·   · · A.· Not to my knowledge.· Unless -- well, their         21·   · · · · And a lot of these I say up north because that's
22·   ·daughter did most of the book work, but I don't believe    22·   ·the ones I remember.· There was maybe a couple they will
23·   ·she would purchase because most of the time they were      23·   ·go to, but if they were far off or other places would
24·   ·there, and the only times they would not be there is if    24·   ·just ship them in, and I know Gare had molds, too.· They
25·   ·they had to go out of town for, like, a -- they would      25·   ·sold a lot of products.· We bought a lot from them.

                                                        Page 28                                                           Page 29
·1·   · · Q.· Okay.· And when you say "White Plains," is that     ·1·   · · Q.· Okay.· Do you remember when that was?
·2·   ·New York?                                                  ·2·   · · A.· I don't.
·3·   · · A.· Yes.                                                ·3·   · · Q.· Okay.
·4·   · · Q.· Okay.· Can you remember anywhere else that --       ·4·   · · A.· It was just within probably in the early years
·5·   · · A.· I can't.· I just remember that one stuck in my      ·5·   ·because she had a shop, so I'm sure she would have got
·6·   ·mind and Gare.· I can't -- I don't even know where Gare    ·6·   ·it pretty early, but I don't remember it.· It would have
·7·   ·was for sure.· I know they did molds, and White Plains,    ·7·   ·to be just the time period I was there in the early
·8·   ·they would go up there, but that's all I can remember      ·8·   ·part.
·9·   ·right off.                                                 ·9·   · · Q.· Do you remember if that was a Gare kiln that you
10·   · · Q.· Okay.· Do you ever remember a clay slip product     10·   ·sold to her?
11·   ·made by Duncan?                                            11·   · · A.· Yes, I would think, yeah, it was Gare.
12·   · · A.· Duncan had molds.                                   12·   · · Q.· Because that's all that you all sold?
13·   · · Q.· Okay.                                               13·   · · A.· Yes, that was what we sold unless she -- I don't
14·   · · A.· But I don't believe we bought -- that was a paint   14·   ·know if Pottery Arts sold kilns, but yeah, I'm pretty
15·   ·product.· I think Pottery Arts carried that.               15·   ·sure she would have bought Gare because she bought --
16·   · · Q.· Okay.· You don't remember Ceramics by Stu-doodle    16·   ·she would come to the shop and buy her paints and
17·   ·selling --                                                 17·   ·supplies, and then we sold the cones and --
18·   · · A.· They didn't sell Duncan because Duncan was like     18·   · · Q.· Okay.· I want to ask you --
19·   ·Gare.· We were a Gare -- we sold Gare products where       19·   · · A.· -- and slip.
20·   ·Pottery Arts, they sold Duncan, their paints and           20·   · · Q.· -- okay -- about the cones.· Can you describe the
21·   ·products.· I do remember that.· I hadn't remembered that   21·   ·cones that you're referencing there for me.
22·   ·in a long time.                                            22·   · · A.· The cones, I remember came in a little square
23·   · · Q.· Okay.· And while we're talking about Gare, do you   23·   ·white box, and they would say -- they were Orton cones,
24·   ·ever remember selling to Holly Webster any kilns?          24·   ·and they were, like, little -- it had packing material.
25·   · · A.· Yes, she would buy them.· Um-hmm.                   25·   ·They were a little triangle shape hard things, but then


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 8 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 30..33
                                                        Page 30                                                           Page 31
·1·   ·they were packed in this -- I don't know how to describe   ·1·   · · A.· Sure.
·2·   ·it.· It was, like, curly stuff packing material. I         ·2·   · · Q.· I just saw hand motions --
·3·   ·can't -- I can't think of how to describe it.              ·3·   · · A.· Okay.
·4·   · · Q.· Okay.· Do you remember seeing the name "Orton" on   ·4·   · · Q.· -- can't get down on the record.
·5·   ·the box -- on the outside of the box?                      ·5·   · · A.· Okay.
·6·   · · A.· Yes.· Um-hmm.                                       ·6·   · · Q.· And you sort of pulled that off.· Was it -- let
·7·   · · Q.· Did Ceramics by Stu-doodle sell these types of      ·7·   ·me finish my question here for a better description.
·8·   ·cones that were made by anyone else?                       ·8·   · · · · Did the flap or the top of the box, was it
·9·   · · A.· Not to my knowledge.                                ·9·   ·attached to the box so that you opened it and the lid
10·   · · Q.· Okay.                                               10·   ·stayed on the box, or was it a lid that completely came
11·   · · A.· Because as a matter of fact, I have -- I think      11·   ·off the box, you had a bottom of the box and you had a
12·   ·there's one box I have at home that's got -- it's an       12·   ·lid to the box that were separate?
13·   ·Orton cone box.                                            13·   · · A.· It's, like, a bottom of the box, and the top of
14·   · · Q.· Okay.· And do you remember what type of box, what   14·   ·the box was almost like a box.· It was, like, the lid
15·   ·the box looked like?                                       15·   ·fit over the box, but it was about the same size as the
16·   · · A.· It was a white little -- a white little             16·   ·box.
17·   ·cardboard.· It was probably four-inch square, maybe        17·   · · Q.· Okay.
18·   ·couple -- two to three inches high.                        18·   · · A.· Like, if you picked up the lid and you were
19·   · · Q.· Okay.                                               19·   ·picking up this big part, and it just slipped over the
20·   · · A.· There were small boxes.                             20·   ·bottom box.
21·   · · Q.· Do you remember the boxes if they opened from the   21·   · · Q.· Yes, ma'am.
22·   ·top --                                                     22·   · · · · And do you remember what size of the cones -- and
23·   · · A.· Opened from the top.· It was just, like, a -- it    23·   ·by cones, are we talking about pyrometric cones here?
24·   ·opened from to top.                                        24·   · · A.· Yes.
25·   · · Q.· Okay.· I'll ask you a better question.              25·   · · Q.· Do you remember what size?

                                                        Page 32                                                           Page 33
·1·   · · A.· They were -- oh, they were really tiny.· Probably   ·1·   ·would go up north to White Plains.· Would they purchase
·2·   ·maybe an inch.                                             ·2·   ·other products such as cones and bring them back for
·3·   · · Q.· Okay.                                               ·3·   ·sale?
·4·   · · A.· But -- and they were skinny little cones.           ·4·   · · A.· Not to my knowledge.· I don't remember any other
·5·   · · Q.· Okay.                                               ·5·   ·types because I think Orton also had them in a blister
·6·   · · A.· They were just, like, a little triangle that went   ·6·   ·pack, but I'm not -- I do remember that there was some
·7·   ·to a point and had a big end and went to a point so when   ·7·   ·blister packs that we had, but most people bought them
·8·   ·they fired, they will just bend and it would shut the      ·8·   ·by the box because it was lot less expensive.· If you
·9·   ·kiln off.· That was the purpose of them.                   ·9·   ·were maybe somebody just doing, like, a -- somebody like
10·   · · Q.· Okay.· Did you ever purchase these Orton cones on   10·   ·me that had a home -- you know, just wanted to do a
11·   ·behalf of Ceramics by Stu-doodle?                          11·   ·little bit, you could have just bought the blister packs
12·   · · A.· I did not.                                          12·   ·of them, but I don't remember buying anything like that
13·   · · Q.· Okay.· Do you know where those Orton cones came     13·   ·at shows.
14·   ·from, how they came to be at Ceramics by Stu-doodle for    14·   · · · · Mostly, when they went to shows, it was just
15·   ·sale?                                                      15·   ·different molds that came out or -- because a lot of
16·   · · A.· I assume that they would buy -- purchase them       16·   ·times when you were a distributor for these people, you
17·   ·directly from the company, the manufacturer, because       17·   ·would have to meet a quota.· Like, the paints, you will
18·   ·that's what they mostly did to the best of my knowledge.   18·   ·have to buy so much to maintain your discount or
19·   ·I -- you know, because a lot of times I will do the        19·   ·whatever to get a better price.
20·   ·inventory.· If we got low, I would just give Ms. Stuart    20·   · · Q.· Okay.· Do you ever remember receiving a shipment
21·   ·the order, you know, that we were down to "X" amount of    21·   ·of cones?
22·   ·boxes, and we need to -- they need to be reordered, and    22·   · · A.· Um-hmm.· Yes I remember.· They would come in,
23·   ·she would order them.                                      23·   ·like, a big box, and we would just unpack them and put
24·   · · Q.· Okay.· Do you know if Marie or Eddie Stuart would   24·   ·them on the shelf.· They were -- all the boxes of them
25·   ·go to other -- I know you mentioned shows -- or they       25·   ·were in just a big cardboard box.


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             Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 9 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 34..37
                                                        Page 34                                                           Page 35
·1·   · · Q.· Do you know where those were shipped from?          ·1·   ·that you started working for Ceramics by Stu-doodle in
·2·   · · A.· I can't say.· I'm just assuming it's from the       ·2·   ·1974?
·3·   ·name that was on the box.· You know, I can't remember.     ·3·   · · A.· Um-hmm.
·4·   · · Q.· Okay.· Do you know where the Orton company is       ·4·   · · Q.· Is that right?
·5·   ·located?                                                   ·5·   · · A.· That is correct.
·6·   · · A.· No, I can -- I would have to look on the box of     ·6·   · · Q.· So between 1974 and 1977, do you have any idea
·7·   ·cones.· Right off to say I know, I can't --                ·7·   ·where Ceramics by Stu-doodle would have purchased Orton
·8·   · · Q.· Okay.                                               ·8·   ·cones or bought them from?
·9·   · · A.· -- verify that.                                     ·9·   · · · · · · ·MR. SEALEY:· Before you answer that, let me
10·   · · Q.· And you don't know for certain if the box or the    10·   ·log an objection.· Objection.· Assumes facts not in
11·   ·shipment that you received there at Ceramics by            11·   ·evidence and mischaracterizes testimony of their
12·   ·Stu-doodle, if those came directly from Orton or if they   12·   ·corporate witness.· There's no evidence that -- Orton
13·   ·came from another supplier?                                13·   ·does not have any record of sales from 1974 to 1977.
14·   · · A.· I just have to assume they came from Orton.· I --   14·   ·Their -- you're making a misrepresentation to the
15·   ·to say they actually did, I can't 100 percent say.         15·   ·witness in an attempt to get her to testify to something
16·   · · Q.· Okay.                                               16·   ·that your own corporate witness has testified he doesn't
17·   · · A.· But I just assumed that they did because, you       17·   ·know one way or the other.
18·   ·know, she would order from the different -- all -- you     18·   ·BY MS. DRAYTON:
19·   ·know, manufacturers.· I just don't know.                   19·   · · Q.· Do you have any information that Ceramics by
20·   · · Q.· Okay.· In this case, there was evidence from        20·   ·Stu-doodle purchased directly from Orton, pyrometric
21·   ·Orton, from their sales records, that they sold directly   21·   ·cones prior to November of 1977?
22·   ·to Ceramics by Stu-doodle starting in November of 1977.    22·   · · A.· I don't know.· I don't remember.
23·   ·That's the first --                                        23·   · · Q.· Okay.· Okay.· In terms of other distributors or
24·   · · A.· Okay.                                               24·   ·other shops, other companies where Marie or Eddie Stuart
25·   · · Q.· -- sale to Ceramics by Stu-doodle, and I know       25·   ·would purchase products from, do you know the names of

                                                        Page 36                                                           Page 37
·1·   ·any of those?                                              ·1·   · · Q.· Okay.
·2·   · · A.· Just the ones that I have mentioned.· I just know   ·2·   · · A.· -- I don't know.
·3·   ·Gare and Africana.· I don't know of all the places they    ·3·   · · Q.· Do you know if any kiln furniture was ever
·4·   ·would purchase from.· I just know they -- you know, that   ·4·   ·purchased directly from Orton?
·5·   ·was the only cones that we carried, and Gare, we carried   ·5·   · · A.· I don't know.
·6·   ·their supplies, and Africana, their supplies which was     ·6·   · · Q.· Okay.· Did Ceramics by Stu-doodle sell any gloves
·7·   ·paint.                                                     ·7·   ·that you would use when operating the kiln?
·8·   · · Q.· Okay.· And you never personally placed an order     ·8·   · · A.· Not to my knowledge, uh-uh.
·9·   ·with the Orton Foundation --                               ·9·   · · Q.· Okay.
10·   · · A.· No, I did not.                                      10·   · · A.· Because what we had -- what came with the kiln
11·   · · Q.· -- for any materials, right?                        11·   ·was, like, a hook that you would use to open it, but I
12·   · · A.· Right.                                              12·   ·don't remember any gloves.
13·   · · Q.· Okay.· Do you know if -- well, let me first ask     13·   · · Q.· Okay.· Do you remember any other what I'm just
14·   ·you:· Did Ceramics by Stu-doodle -- I believe you have     14·   ·going to generally call tools or equipment used in the
15·   ·mentioned a couple of things that they sold.· Did they     15·   ·kilns or to use the kilns, to help you use those that
16·   ·sell things, like, kiln furniture and that may have been   16·   ·they sold at Ceramics by Stu-doodle?
17·   ·like the post or the stilts that you were describing?      17·   · · A.· Not that I know of.· Just the kiln and the
18·   · · A.· Yes, that -- yeah, because they had to be used in   18·   ·furniture or whatever, the stilts, the posts, the kiln
19·   ·the kilns.                                                 19·   ·wash that you put on the shelves, and the shelves that
20·   · · Q.· Okay.· Do you know where the @I want to kiln        20·   ·go in the kiln.· That is all I know.
21·   ·furniture.· I don't know if you used that word @ the       21·   · · Q.· Okay.· Did you ever -- as part of your job
22·   ·stilts or the posts where Ceramics by Stu-doodle           22·   ·responsibilities or duties at Ceramics by Stu-doodle,
23·   ·purchased those materials?                                 23·   ·did you ever write any checks or make payments to
24·   · · A.· I -- I'm assuming that came from Gare who sold      24·   ·suppliers?
25·   ·the kilns, but --                                          25·   · · A.· No, I did not.


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 10 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 38..41
                                                        Page 38                                                           Page 39
·1·   · · Q.· Is that something that Eddie and Marie Stuart       ·1·   · · Q.· Okay.· And in order to prepare the document, did
·2·   ·were responsible for?                                      ·2·   ·you speak with someone over the phone?
·3·   · · A.· Yes.                                                ·3·   · · A.· I believe someone -- yeah.· Someone called me on
·4·   · · Q.· Okay.· Did you ever in your time working there at   ·4·   ·this.
·5·   ·Ceramics by Stu-doodle see any invoices from Orton or      ·5·   · · Q.· Okay.· Was that someone --
·6·   ·from the Orton Foundation?                                 ·6·   · · · · · · ·THE DEPONENT:· Was it you, Drew?
·7·   · · A.· No.· Uh-uh.                                         ·7·   · · · · · · ·MR. SEALEY:· I can represent that it was me.
·8·   · · Q.· Do you have any information about how the           ·8·   ·BY MS. DRAYTON:
·9·   ·purchasing process, particularly with Orton, how that      ·9·   · · Q.· Okay.· So -- and Mr. Sealey is not counsel
10·   ·worked?                                                    10·   ·representing you in this case --
11·   · · A.· No.                                                 11·   · · A.· Okay.
12·   · · Q.· Okay.                                               12·   · · Q.· -- is that right?· He is not your attorney --
13·   · · A.· Uh-uh.                                              13·   · · A.· Right.
14·   · · · · (Affidavit of Elaine Garrett marked as Deposition   14·   · · Q.· -- representing you?· Okay.· I just wanted to
15·   · · · · ·Exhibit No. 2)                                     15·   ·make sure.
16·   ·BY MS. DRAYTON:                                            16·   · · · · What did the two of you talk about over the phone
17·   · · Q.· Ms. Garrett, I'm going to show you Exhibit No. 2    17·   ·when you were working on this affidavit or preparing it?
18·   ·that I'm going to mark here, a document I believe you      18·   · · A.· We just talked about just what it says here, that
19·   ·have seen before.· It's labeled "Affidavit," and is that   19·   ·I did work there and that -- just what it says here.
20·   ·your signature there at the bottom?                        20·   · · Q.· Okay.
21·   · · A.· Yes, it is.                                         21·   · · A.· That is all.
22·   · · Q.· Okay.· Did you type this affidavit?                 22·   · · Q.· Okay.· And I want to ask you specifically --
23·   · · A.· No.                                                 23·   ·well, let me go back and ask:· You only received one
24·   · · Q.· Okay.· How did you receive the document?            24·   ·draft of this affidavit in the mail; is that right?
25·   · · A.· I received it in the mail.                          25·   · · A.· Yes.

                                                        Page 40                                                           Page 41
·1·   · · Q.· Okay.· So you didn't make revisions to it or call   ·1·   ·directly from Orton?
·2·   ·him back a second time with any revisions?                 ·2·   · · A.· Well, because they -- that's where they usually
·3·   · · A.· No.                                                 ·3·   ·-- that's the boxes that they came in that had the Orton
·4·   · · Q.· Okay.· And have the two of you only talked once     ·4·   ·cones on it, so I'm saying that's where they purchased
·5·   ·over the phone about the affidavit?                        ·5·   ·them directly from.
·6·   · · A.· We only talked about this this time, and then       ·6·   · · Q.· Do you know how often Ceramics by Stu-doodle
·7·   ·about what date I would be available for this meeting,     ·7·   ·purchased cones from Orton?
·8·   ·so it's just been twice.                                   ·8·   · · A.· On a regular basis as we got low.· I can't say
·9·   · · Q.· Okay.· Perfect.· You only --                        ·9·   ·exactly how often, but I mean, they used -- that's what
10·   · · · · · · ·MR. SEALEY:· And before we walked in today     10·   ·we used during the time that I was employed there, so --
11·   ·when I met --                                              11·   · · Q.· Okay.
12·   · · · · · · ·THE DEPONENT:· Yes, that was right, when he    12·   · · A.· And we sold a lot of cones to the different
13·   ·was out there waiting.                                     13·   ·places, you know, dealers.
14·   ·BY MS. DRAYTON:                                            14·   · · Q.· Okay.· And when you say you "sold a lot of
15·   · · Q.· Yes, ma'am.· I'm not going to be that technical.    15·   ·cones," do you have any idea how many cones you sold?
16·   · · · · Other than this affidavit, have the -- what have    16·   · · A.· No, I don't.
17·   ·the two of you talked about, and pleasantries obviously    17·   · · Q.· Weekly, monthly basis?
18·   ·or the weather or those kinds of things?                   18·   · · A.· No, it's been a long, long time ago.· I -- I
19·   · · A.· Yes, that's -- that's basically it.                 19·   ·don't know.· I mean, I know that the dealers would come
20·   · · Q.· Okay.· I want to ask you about paragraph number     20·   ·there, and they will buy a lot of different supplies,
21·   ·four, and it states, just for the record, Ceramics by      21·   ·and they would buy boxes.· There was different types of
22·   ·Stu-doodle sold Orton pyrometric cones which were          22·   ·cones, you know.· You had them for different
23·   ·purchased directly from Orton on a regular and             23·   ·temperatures that you were firing, so, you know, we just
24·   ·continuous basis during my employment.                     24·   ·sold -- I just -- you know, we sold them.
25·   · · · · How do you know that those cones were purchased     25·   · · Q.· Okay.· And when you say that you -- by "you," I'm


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 11 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 42..45
                                                        Page 42                                                           Page 43
·1·   ·going to say Ceramics by Stu-doodle purchased cones        ·1·   · · A.· Well --
·2·   ·directly from Orton on a regular basis.· How often is a    ·2·   · · · · · · ·MR. SEALEY:· Form.
·3·   ·regular basis, what do you mean by that?                   ·3·   · · A.· -- since Orton was on the box, I would say that
·4·   · · A.· Well, since, you know, we bought -- they bought     ·4·   ·she would be buying them from Orton.· You know, I don't
·5·   ·from that company, and that was the only cones that we     ·5·   ·remember her -- or, you know, buying from anywhere else.
·6·   ·sold, we kept them in stock.· I don't know.· I would say   ·6·   · · · · · · ·THE COURT REPORTER:· Did you say just
·7·   ·maybe every -- at least every three or four months.· You   ·7·   ·"form?"
·8·   ·know, I'm just guessing.                                   ·8·   · · · · · · ·MR. SEALEY:· Form.· Foundation.
·9·   · · · · I have -- I don't know.· It's just I know we        ·9·   · · · · · · ·THE COURT REPORTER:· Okay.
10·   ·just, you know, sold them, and whatever their quota was    10·   ·BY MS. DRAYTON:
11·   ·that they had to buy, that's what they would always buy.   11·   · · Q.· Okay.· And do you remember when you first started
12·   · · Q.· Okay.                                               12·   ·doing the inventory there for Ceramics by Stu-doodle,
13·   · · A.· Because I know because we did inventory so, you     13·   ·when you first started?
14·   ·know, when I had -- gave her the sheet what she needed     14·   · · A.· Well, it may have been a little while after I
15·   ·to buy, that's --                                          15·   ·first started, you know, because like I said, I was in
16·   · · Q.· Okay.· And that's when you would tell               16·   ·different areas.· It wasn't as busy when I first
17·   ·Mrs. Stuart, as you called her, you know, we're low on     17·   ·started, but it was growing so --
18·   ·these types of cones, we need to order more; is that       18·   · · Q.· Okay.
19·   ·right?                                                     19·   · · A.· -- I just, you know, did it quite often.
20·   · · A.· Yes.                                                20·   · · Q.· Okay.· I'm going to come back to that in a second
21·   · · Q.· And then Ms. Stuart would go and order those        21·   ·and go back off the topic.
22·   ·cones?                                                     22·   · · · · I know that Marie and Eddie Stuart moved here
23·   · · A.· That is correct.                                    23·   ·from Virginia; is that right?
24·   · · Q.· You don't have any information to know where        24·   · · A.· Um-hmm.
25·   ·Mrs. Stuart was purchasing those cones from?               25·   · · Q.· And did they operate the same or -- type of

                                                        Page 44                                                           Page 45
·1·   ·business in Virginia before they moved here?               ·1·   · · Q.· I just want to introduce one more document.
·2·   · · A.· I don't believe so.· I think he was in the Navy,    ·2·   · · · · Ms. Garrett, I'm going to show you another
·3·   ·and they retired and moved down here, and that's when --   ·3·   ·document, and I promise you're not going to read -- I'm
·4·   ·I don't know.· I can't remember.· I don't believe they     ·4·   ·not going to ask you to read the whole thing there.
·5·   ·did.· I think that's when they bought the old              ·5·   ·We're not going to go through the whole thing.· It's
·6·   ·schoolhouse and remodeled it with the idea they were       ·6·   ·just there's a complete copy to make things easier.
·7·   ·going into ceramics --                                     ·7·   · · · · I've shown you what's marked the bottom
·8·   · · Q.· Okay.                                               ·8·   ·right-hand corner as Exhibit 3, and at the top, in bold
·9·   · · A.· -- to do that.· She was an artist.· You know, she   ·9·   ·letters, Affidavit of Mark Lawson in Support of
10·   ·was very good at painting and --                           10·   ·Defendant Edward Orton, etc., etc., but you can read
11·   · · Q.· Okay.· And she was an artist even when she lived    11·   ·through the document if you would like to.
12·   ·in Virginia or before she moved here?                      12·   · · · · I'm not going to ask you a lot of questions about
13·   · · A.· I don't know if that was her profession, but she    13·   ·it, but I will assert to you for your reference
14·   ·was very talented.· I mean, she did paintings and all,     14·   ·Mr. Lawson in the first paragraph states that he's the
15·   ·but I don't know what she did before she moved down        15·   ·general manager for Edward Orton Foundation and has been
16·   ·here.· I really don't.                                     16·   ·since January 2018.
17·   · · Q.· Do you know if they would go to Virginia to         17·   · · · · I want to ask you a couple -- a question or two
18·   ·purchase any supplies or products that were sold in the    18·   ·of page three.· Feel free to read that if you feel more
19·   ·store?                                                     19·   ·comfortable.
20·   · · A.· Not to my knowledge.                                20·   · · A.· That's fine.
21·   · · Q.· Okay.                                               21·   · · Q.· Okay.· I would like to direct you to the
22·   · · A.· I don't know.                                       22·   ·paragraphs numbered on the left-hand side, number 22 at
23·   · · · · (Affidavit of Mark Lawson marked as Deposition      23·   ·the bottom of page 3, and I'd just like to read this
24·   · · · · Exhibit No. 3)                                      24·   ·with you.· It states, The Foundation recently discovered
25·   ·BY MS. DRAYTON:                                            25·   ·daily ledgers or receipt journals dated December 2nd,


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 12 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 46..49
                                                        Page 46                                                           Page 47
·1·   ·1963, through December 30th, 1985.· According to the       ·1·   · · A.· Yes, I see Ceramics, line 8.
·2·   ·journal entries, it appears that the Foundation sold       ·2·   · · Q.· You see that number 8, and it has the company
·3·   ·products to a company listed in the receipts journal as    ·3·   ·listed there with an amount of $226.06.· I ask you to
·4·   ·Ceramics by Stu-doodle.                                    ·4·   ·read all of that to simply ask you:· Do you have any
·5·   · · · · May I first ask you or have you ever heard of any   ·5·   ·different information in your work there at Ceramics by
·6·   ·other company names Ceramics by Stu-doodle?                ·6·   ·Stu-doodle that would account for any other direct
·7·   · · A.· Uh-uh.                                              ·7·   ·transactions between Orton, the Orton Foundation and
·8·   · · Q.· Just this one here in Elizabeth City is the only    ·8·   ·Ceramics by Stu-doodle other than those 12 transactions
·9·   ·one that you're aware of?                                  ·9·   ·that were referenced in the affidavit that you just
10·   · · A.· Um-hmm.                                             10·   ·read?
11·   · · Q.· Okay.· Continuing on to page four, it states        11·   · · · · · · ·MR. SEALEY:· Objection to form.
12·   ·there at the top, There were a total of 12 transactions    12·   ·BY MS. DRAYTON:
13·   ·amounting to approximately $1,496.99 between the           13·   · · Q.· That was long question.· Do you want me to
14·   ·Foundation and Ceramics by Stu-doodle.· The 12 pages       14·   ·reask --
15·   ·reflecting those transactions are attached hereto.         15·   · · A.· Yes.· I don't have a -- I don't know.
16·   · · · · And for your ease of reference, I will ask you      16·   · · Q.· Okay.· If the entry that I just showed you,
17·   ·just to flip to -- it's on the side of the page, it's      17·   ·November --
18·   ·page 9 of 20, and it's on the -- yeah, right there.· The   18·   · · A.· Um-hmm.
19·   ·side, and at the top it says, in the right corner,         19·   · · Q.· -- 1977, that handwritten entry, if that is the
20·   ·Exhibit B, and then it's got a handwritten document at     20·   ·very first entry showing any direct transaction between
21·   ·the top, it says, Receipts, Journals, November 1977.       21·   ·Orton and Ceramics by Stu-doodle, do you have any
22·   · · · · Do you see that there at the top?                   22·   ·information to dispute that?
23·   · · A.· Um-hmm.                                             23·   · · · · · · ·MR. SEALEY:· Objection to form.· And the use
24·   · · Q.· And on this page -- I was trying to point to the    24·   ·of this document as evidence that that was the first
25·   ·line number.                                               25·   ·transaction that took place between Orton and Ceramics

                                                        Page 48                                                           Page 49
·1·   ·by Stu-doodle, again, the same corporate representative    ·1·   · · · · · · ·MR. SEALEY:· Form.· Foundation.
·2·   ·who signed this affidavit acknowledged that he doesn't     ·2·   · · A.· No, because I didn't do the purchasing.
·3·   ·know one way or the other if these -- if this document,    ·3·   ·BY MS. DRAYTON:
·4·   ·Exhibit B, is inclusive of all transactions conducted by   ·4·   · · Q.· Okay.
·5·   ·Orton.                                                     ·5·   · · A.· I just -- and I don't remember.· That's been a
·6·   · · · · · · ·You're using it to misrepresent to the         ·6·   ·long time ago.
·7·   ·client that that was the first transaction between Orton   ·7·   · · Q.· Okay.· And along those same lines, is it possible
·8·   ·and Ceramics by Stu-doodle when your own corporate         ·8·   ·that Marie and Eddie Stuart purchased products through
·9·   ·representative says he doesn't have any evidence if        ·9·   ·another distributor or another company, even Gare,
10·   ·that's case.                                               10·   ·buying Orton cones directly from other stores other than
11·   · · · · · · ·MS. DRAYTON:· I will object to the speaking    11·   ·Orton?
12·   ·objection.                                                 12·   · · · · · · ·MR. SEALEY:· Form.· Foundation.· Calls for
13·   ·BY MS. DRAYTON:                                            13·   ·speculation.
14·   · · Q.· Let me ask you again, Ms. Garrett:· Do you have     14·   · · A.· I don't know.
15·   ·any knowledge or information about direct transactions     15·   ·BY MS. DRAYTON:
16·   ·between the Orton Foundation and Ceramics by Stu-doodle    16·   · · Q.· You don't -- you just don't know one way or
17·   ·prior to November of 1977?                                 17·   ·another?
18·   · · · · · · ·MR. SEALEY:· Form.· Foundation.                18·   · · A.· (Deponent nodded)
19·   · · A.· I don't have any.                                   19·   · · Q.· I want to also ask you, you told me about the
20·   ·BY MS. DRAYTON:                                            20·   ·Gare and the Duncan.· We talked about Duncan products.
21·   · · Q.· Okay.                                               21·   ·You don't remember Ceramics by Stu-doodle selling those
22·   · · A.· Anything.                                           22·   ·products?
23·   · · Q.· Do you have any way of knowing for certain that     23·   · · A.· We didn't carry Duncan, no.
24·   ·Ceramics by Stu-doodle purchased directly from Orton       24·   · · Q.· The wet slip product that you were telling me
25·   ·prior to November 1977?                                    25·   ·about, this is a question I'm not sure if you can


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 13 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 50..53
                                                        Page 50                                                           Page 51
·1·   ·answer, but if someone would come in and buy a             ·1·   · · Q.· Okay.· How often would you see Ms. Holly Webster
·2·   ·two-gallon bucket worth of wet slip, is that right,        ·2·   ·there at Ceramics by Stu-doodle?
·3·   ·about how long would that last a customer?· How many       ·3·   · · A.· She would come either -- at least probably every
·4·   ·molds could you make with that?                            ·4·   ·other week.
·5·   · · A.· You could make quite a bit of items, greenware      ·5·   · · Q.· Okay.· And when she came to Ceramics by
·6·   ·from that.· It just depends.· You could get 10 or 20       ·6·   ·Stu-doodle, was she always there to purchase items or
·7·   ·pourings depending on how big the mold you had,            ·7·   ·was she there --
·8·   ·depending on what you were using.                          ·8·   · · A.· Yes, to purchase items.
·9·   · · Q.· Did you say "10 or 20" molds?                       ·9·   · · Q.· Do you remember what items she would purchase?
10·   · · A.· Yeah, you do -- it's -- each of that goes into a    10·   · · A.· She purchased the paint, the cones, the slip,
11·   ·mold.· If you have a mold that size -- I mean, there's     11·   ·some greenware because she would pour some of her own
12·   ·all different size molds, different products.· You can     12·   ·molds, and then she would buy, you know, items that we
13·   ·do Christmas ornaments.· You can do figurines, plaques.    13·   ·had, too.
14·   ·It just depends.· I mean, it went a little ways.           14·   · · Q.· In terms of molds that were already, @she would
15·   · · Q.· Okay.· Do you have a memory or recollection of      15·   ·buy molds there?
16·   ·Ms. Holly Webster purchasing the wet slip product there    16·   · · A.· Um-hmm.· Yeah, we sold molds and the greenware,
17·   ·at Ceramics by Stu-doodle?                                 17·   ·the greenware, too, so --
18·   · · A.· Yes.· Um-hmm.                                       18·   · · Q.· Okay.· Do you have a memory or recollection of
19·   · · Q.· Okay.· Do you have a memory or reference as to      19·   ·Ms. Holly Webster purchasing Orton cones from Ceramics
20·   ·how often she would purchase that product from Ceramics    20·   ·by Stu-doodle?
21·   ·by Stu-doodle?                                             21·   · · A.· Yes, she would purchase cones.· Um-hmm.
22·   · · A.· No, not how often.· I mean, she came in pretty      22·   · · Q.· Do you remember how often she would purchase
23·   ·often.· What products she bought as far as the slip, I     23·   ·those cones?
24·   ·mean, I don't remember how often she would purchase        24·   · · A.· No.
25·   ·that.                                                      25·   · · Q.· Do you remember -- I know you referenced every

                                                        Page 52                                                           Page 53
·1·   ·other week, would she purchase cones every time she came   ·1·   ·and then when I say "retail," it could be people coming
·2·   ·to Ceramics by Stu-doodle?                                 ·2·   ·-- like, some of their students maybe or people in the
·3·   · · A.· I don't think so.· Not every time.                  ·3·   ·area that went to different classes, ceramics classes,
·4·   · · Q.· And I think I've asked you a similar question,      ·4·   ·that would come buy supplies or just to see what we had.
·5·   ·but I just want to make sure.· In terms of the Ceramics    ·5·   · · Q.· Okay.· If you could estimate a percentage of how
·6·   ·by Stu-doodle clients or customers, you talked about the   ·6·   ·many customers were the retail customers versus the
·7·   ·retail customers and then individuals like Ms. Holly       ·7·   ·individual customers like Ms. Webster, do you have any
·8·   ·Webster, was there any other type of customer other than   ·8·   ·percentage of -- how would you break that down?
·9·   ·those two individuals versus retail?                       ·9·   · · A.· Probably 80 -- I would say 80 percent was dealers
10·   · · A.· What do you mean?· I'm sorry.                       10·   ·like Ms. Webster.· Maybe 20 percent for retail people.
11·   · · Q.· Sure.· And I'll ask a better question.              11·   · · Q.· Okay.· And the retailers that you would sell to,
12·   · · · · The Ceramics by Stu-doodle, the types of            12·   ·were all here in North Carolina or I guess they could
13·   ·customers that you all sold to there, would be a type      13·   ·have been from Virginia?
14·   ·like Ms. Webster, individuals?                             14·   · · A.· They come from Virginia, too.
15·   · · A.· Right.                                              15·   · · Q.· Okay.· When Holly Webster would come in and shop
16·   · · Q.· Then you referenced a retail customer --            16·   ·at Ceramics by Stu-doodle, do you remember anyone being
17·   · · A.· Yes.                                                17·   ·with her?
18·   · · Q.· -- that you sold to.· Was there any other type of   18·   · · · · · · ·MR. SEALEY:· Asked and answered.
19·   ·customer that you would -- that the store would sell --    19·   · · A.· Her daughter would come a lot.
20·   · · A.· Oh.                                                 20·   ·BY MS. DRAYTON:
21·   · · Q.· -- to that.· I'm not -- that we haven't talked      21·   · · Q.· Okay.· Do you remember anyone else that was there
22·   ·about?                                                     22·   ·with her or with Ms. Webster, Holly Webster?
23·   · · A.· No, I mean, we would just have a customer like      23·   · · A.· Sometimes she would have one of her students with
24·   ·Ms. Holly that we called dealers that had a shop and       24·   ·her maybe.
25·   ·would sell supplies to students they taught classes to,    25·   · · Q.· Okay.· And are you able to estimate how many


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 14 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 54..57
                                                        Page 54                                                           Page 55
·1·   ·boxes of cones Ms. Holly Webster would buy at a time       ·1·   ·you about everything I want to ask.· I just want to
·2·   ·when she would come to Ceramics by Stu-doodle?             ·2·   ·check to make sure I don't waste any more of your time.
·3·   · · A.· No, it's been a long time ago.                      ·3·   · · · · Did you ever see -- I'm going to jump around from
·4·   · · Q.· And I think I generally asked you terms of          ·4·   ·topic here to topic -- any checks that were written by
·5·   ·Ceramics by Stu-doodle being in business, their entire     ·5·   ·Ceramics by Stu-doodle or from Ceramics by Stu-doodle
·6·   ·tenure there, was it a 15, 20-year period or how long      ·6·   ·directed to the Orton Foundation?
·7·   ·were they in business, do you remember?                    ·7·   · · A.· I didn't see any.
·8·   · · A.· I don't remember.                                   ·8·   · · Q.· Okay.· And I believe -- I just want to ask you
·9·   · · Q.· Okay.· The Pottery Arts store in Virginia that we   ·9·   ·about a couple of names.· You said that Eddie Stuart has
10·   ·talked about did you ever visit the store?                 10·   ·passed away, and did you say Ray Eason has passed away?
11·   · · A.· I did not.                                          11·   · · A.· Yes.· Um-hmm.
12·   · · Q.· Okay.· And as far as you know, did they sell the    12·   · · Q.· And the other two, do you know the other two
13·   ·same types of things that Ceramics by Stu-doodle sold?     13·   ·ladies, Bonnie Hoffman or Ricky Upton?
14·   · · A.· Yes.                                                14·   · · A.· Ricky was a gentleman, but --
15·   · · · · · · ·MR. SEALEY:· Asked and answered.· Calls for    15·   · · Q.· Man.· Okay.
16·   ·speculation.                                               16·   · · A.· Yeah.
17·   ·BY MS. DRAYTON:                                            17·   · · Q.· Do you know if they are still living?
18·   · · Q.· You believe that store was located off Witchduck    18·   · · A.· Yeah, they are.
19·   ·Road in -- was that in Norfolk or Virginia Beach?          19·   · · Q.· Are they still in the same area, is that
20·   · · A.· Yeah, I believe so.· It sounds familiar, but I've   20·   ·Elizabeth City?
21·   ·never been there.· I just heard of them.· I just knew      21·   · · A.· As far as I know, they are.
22·   ·they were our competitor --                                22·   · · Q.· And do you keep in touch with Lisa Stuart?
23·   · · Q.· Okay.                                               23·   · · A.· Occasionally, yeah, I see her.· Um-hmm.
24·   · · A.· -- at the time I worked there.                      24·   · · Q.· Okay.· And I just want to make sure I understand
25·   · · Q.· Ms. Garrett, I believe I'm almost done.· I asked    25·   ·in terms of your relationship with Karen Cahoon, her

                                                        Page 56                                                           Page 57
·1·   ·sister-in-law Terry --                                     ·1·   ·about it.
·2·   · · A.· Um-hmm.                                             ·2·   · · Q.· Sure.· Ms. Holly Webster, when is the last time
·3·   · · Q.· What's Terry's last name?                           ·3·   ·that you spoke to her?
·4·   · · A.· Cahoon.                                             ·4·   · · A.· I would see her -- geez.· I don't know, and in
·5·   · · Q.· Okay.· And Terry's brother, how are they related?   ·5·   ·town now and then, in Elizabeth City, out to eat, lunch
·6·   · · A.· Terry -- let's see.· They married brothers.         ·6·   ·hour, but I can't say exactly the last time it was.
·7·   · · Q.· Okay.                                               ·7·   · · · · · · ·MS. DRAYTON:· Okay.· I think those are all
·8·   · · A.· Karen's husband and Terry's husband are brothers.   ·8·   ·the questions that I have.· Mr. Sealey may have
·9·   · · Q.· And aside from seeing Karen Cahoon I believe at     ·9·   ·questions.
10·   ·the hospital for the family member --                      10·   · · · · · · ·MR. SEALEY:· I just have just a couple of
11·   · · A.· Yes.                                                11·   ·minutes, and then we'll leave you alone.
12·   · · Q.· -- when was the last time prior to that that you    12·   · · · · · · ·THE DEPONENT:· Okay.
13·   ·saw her?                                                   13·   ·BY MR. SEALEY:
14·   · · A.· Probably when I worked at Stu-doodle and she        14·   · · Q.· You have come here today on your own free will,
15·   ·would come in with her mom.                                15·   ·no one has offered you anything to come testify today,
16·   · · Q.· Okay.· And I don't believe I asked, but what did    16·   ·correct?
17·   ·Karen Cahoon tell you about this case?                     17·   · · A.· Right.
18·   · · A.· Well, she just told me that she was filing suit     18·   · · Q.· Okay.· You started with Ceramics by Stu-doodle
19·   ·because of the cones and what they used to pack the        19·   ·when you graduated from high school about 1974.· At that
20·   ·cones in.                                                  20·   ·period of time, you remember them carrying Orton cones
21·   · · Q.· Did she tell you anything else?                     21·   ·as well, correct?
22·   · · A.· I don't believe so.· That was just the basis of     22·   · · A.· That's correct.
23·   ·it, and that, you know, she wanted my number in case       23·   · · Q.· And this affidavit spells it out, but it might
24·   ·somebody wanted to contact me, and I said, Okay.· And we   24·   ·refresh your recollection that Orton cones was a
25·   ·were at the hospital, so we didn't talk a whole lot        25·   ·foundation that was based in Ohio, specifically,


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 15 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 58..61
                                                        Page 58                                                           Page 59
·1·   ·Westerville, Ohio, and they moved to Columbus, Ohio.       ·1·   ·you didn't have, correct?
·2·   ·Does that ring a bell also where Orton cones were          ·2·   · · A.· Correct.
·3·   ·located?                                                   ·3·   · · Q.· Okay.· So is it fair to say that you would have
·4·   · · A.· Yes, I believe so.                                  ·4·   ·to purchase Orton cones on a regular and continuous
·5·   · · Q.· Okay.· In fact, it will say that name on the        ·5·   ·basis to keep them stocked in the store?
·6·   ·boxes of cones?                                            ·6·   · · A.· Correct.
·7·   · · A.· Right.                                              ·7·   · · Q.· Okay.· And you said that Holly came into the
·8·   · · Q.· Okay.· And when you would receive those cones to    ·8·   ·store pretty regularly, at least every other week to
·9·   ·open and stack them on the shelves, they were packaged     ·9·   ·purchase items?
10·   ·in an external box?                                        10·   · · A.· Um-hmm.· Correct.
11·   · · A.· Right.                                              11·   · · Q.· As you indicated, you don't believe that she
12·   · · Q.· They would have the -- bear the Orton name as       12·   ·always purchased Orton cones, but you believe that she
13·   ·well, correct?                                             13·   ·purchased Orton cones frequently?
14·   · · A.· Yes.· Um-hmm.                                       14·   · · A.· Oh, yeah.· Um-hmm.
15·   · · Q.· Okay.· To your knowledge, Ceramics by Stu-doodle    15·   · · Q.· Okay.· Are you aware of any other distributors of
16·   ·never purchased Orton cones from Gare, correct?            16·   ·Orton cones within 50 miles of Elizabeth City, North
17·   · · A.· To my knowledge, they didn't.                       17·   ·Carolina during that period of time?
18·   · · Q.· Okay.· From time to time, you said that you would   18·   · · A.· No, I'm not aware of any.
19·   ·be looking at the stack of the Orton cones and you would   19·   · · Q.· Okay.· And your competitor in Norfolk -- see how
20·   ·let Ms. Stuart know if more inventory needed to be         20·   ·I said that.· I lived there for a bit.· I got it right.
21·   ·ordered.· Were Orton cones always stocked at Ceramics by   21·   ·Norfolk -- Pottery Arts, you don't know one way or
22·   ·Stu-doodle?                                                22·   ·another if they sold Orton cones, correct?
23·   · · A.· Yes, they were.                                     23·   · · A.· I don't know.
24·   · · Q.· So you don't ever remember Holly or somebody else   24·   · · Q.· Okay.· Do you know how close Holly Webster lived
25·   ·coming into the store and asking for Orton cones that      25·   ·to Ceramics by Stu-doodle?

                                                        Page 60                                                           Page 61
·1·   · · A.· Let's see.· It was probably at that time about      ·1·   ·-- she worked in sales to kind of help in sales if they
·2·   ·maybe a 30-minute drive, so whatever --                    ·2·   ·got busier and materials had to be packed and --
·3·   · · Q.· Okay.                                               ·3·   · · Q.· Okay.· Do you think that was in the last four or
·4·   · · A.· She lived on one side of Elizabeth City, and        ·4·   ·five years of your employment there or --
·5·   ·Ceramics by Stu-doodle was clear on the other side.        ·5·   · · A.· I would probably -- it could have been a little
·6·   · · Q.· Okay.                                               ·6·   ·bit longer than that.
·7·   · · A.· It was north of town.                               ·7·   · · Q.· Okay.· It was the practice of Ceramics by
·8·   · · Q.· Okay.· And yet, she still managed to come in        ·8·   ·Stu-doodle and the Stuart family to the best of your
·9·   ·every other week to purchase products?                     ·9·   ·knowledge to purchase directly from manufacturers of
10·   · · A.· Yeah, I would say about that.· I mean, it may not   10·   ·products, correct?
11·   ·have been quite as frequently, but if I had to guess       11·   · · A.· Yes, that is correct.
12·   ·because I know she taught classes.                         12·   · · · · · · ·MR. SEALEY:· Sorry.· I'm also looking over
13·   · · Q.· Okay.· Was she one of your largest customers?       13·   ·my notes here.
14·   · · A.· Oh, yes.· Um-hmm.                                   14·   · · · · · · ·THE DEPONENT:· That's okay.
15·   · · Q.· You indicated that Bonnie Hoffman and Ricky Upton   15·   · · · · · · ·MR. SEALEY:· Ms. Garrett, I think that's all
16·   ·came along later in terms of their employment there?       16·   ·the questions I have for you.· Amy --
17·   · · A.· Yeah.                                               17·   · · · · · · ·MS. DRAYTON:· I have one or two.
18·   · · Q.· Do you remember --                                  18·   ·BY MS. DRAYTON:
19·   · · A.· -- Ricky was -- I don't know what time they         19·   · · Q.· How long would the Stuarts -- right?
20·   ·started.· He was still in school, and he would come,       20·   · · A.· Yes.
21·   ·like, part-time.· We -- they needed somebody to pour       21·   · · Q.· -- the Stuarts go to shows?
22·   ·molds, and that's mainly what he did.                      22·   · · A.· Maybe once a year or every two years.· It wasn't
23·   · · Q.· Okay.                                               23·   ·that often, but they would like to -- you know, they
24·   · · A.· Now, Bonnie worked there because she lived like I   24·   ·would go.
25·   ·did, was -- she lived close to there, and she would come   25·   · · Q.· And where were some of those shows they went to?


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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 16 of 35
                            KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                                     Elaine Garrett on 04/03/2019                                                  Pages 62..65
                                                        Page 62                                                            Page 63
·1·   · · A.· I know one -- now, I think about it, might have     ·1·   ·or the best way to get in touch with you?
·2·   ·been in Lynchburg, Virginia.· That was a show, but most    ·2·   · · A.· Yeah, I can give you my number.· It's --
·3·   ·of the times, they would go to, like -- I would hear       ·3·   · · Q.· Would you prefer to do that off the record?· Does
·4·   ·them up north, like, to some of the mold -- if they were   ·4·   ·it matter?· We can go off the record.
·5·   ·going to the mold shows, it was up near White Plains.      ·5·   · · A.· Okay.
·6·   · · Q.· Okay.· When you said they were going to White       ·6·   · · · · · · ·(Off the record)
·7·   ·Plains, were those to shows or artist --                   ·7·   · · · · · · ·MS. DRAYTON:· We appreciate your time.
·8·   · · A.· They would buy molds, but I would -- I'm not        ·8·   · · · · · · ·MR. SEALEY:· I might just have one or two
·9·   ·sure.· I just thought there was a show that they would     ·9·   ·follow-ups.
10·   ·have, like, a mold sale up there, but --                   10·   ·BY MR. SEALEY:
11·   · · Q.· Okay.· Sort of like a trade show?                   11·   · · Q.· Did you, yourself, ever go to any of those shows?
12·   · · A.· Yes.· Yes.                                          12·   · · A.· No, I went to -- no, not really.· I went to the
13·   · · Q.· Or -- do you know if they purchased other           13·   ·one in I think it was Lynchburg one time with them, and
14·   ·products when they were up there, bought products of       14·   ·that was -- we just walked around, and it was a whole
15·   ·different types to assemble --                             15·   ·show, but that was -- that was the only one I went to.
16·   · · A.· I don't know.                                       16·   · · Q.· Okay.· And the purpose of those shows is to show
17·   · · Q.· Okay.· Did they go certain times of the year, do    17·   ·off new molds, correct?
18·   ·you remember?                                              18·   · · A.· Mostly, yeah.· The new -- um-hmm.
19·   · · A.· I think it was more like during the winter months   19·   · · Q.· You never saw a stand or a booth for Orton
20·   ·they will go.                                              20·   ·pyrometric cones --
21·   · · Q.· Perfect.· I do have one other question that again   21·   · · A.· No.
22·   ·is not intended to be nosy, but just because you're a      22·   · · Q.· -- they were selling?
23·   ·witness in this case and when it goes to trial we may be   23·   · · · · So that wasn't the kind of shows where they were
24·   ·ask -- or may ask you to testify, would you be willing     24·   ·selling product, right, they would just introduce you to
25·   ·to share with me, even off the record, your phone number   25·   ·new molds?

                                                        Page 64                                                            Page 65
·1·   · · A.· Yes.· Um-hmm.· Because that's what kind of the      ·1· ·STATE OF NORTH CAROLINA AT LARGE, to wit:

·2·   ·basis of everything is, the new molds --                   ·2· · · · · I, Bria L. Pintado, a Notary Public for the State

·3·   · · Q.· Gotcha.                                             ·3· ·of North Carolina at Large, of qualification in the

·4·   · · A.· -- what's ceramics, is the molds is what it was     ·4· ·County of Currituck, and whose commission expires

·5·   ·or it could be paint, but --                               ·5· ·January 20, 2024, do hereby certify that the

·6·   · · · · · · ·MR. SEALEY:· Okay.· Thank you.· That's all     ·6· ·within-named deponent, ELAINE GARRETT, appeared before

·7·   ·the questions I have.                                      ·7· ·me at Elizabeth City, North Carolina, as hereinbefore

·8·   · · · · · · ·MS. DRAYTON:· Thank you very much.             ·8· ·set forth, and after being first duly sworn by me, was

·9·   · · · · · · ·(Whereupon, the deposition was concluded at    ·9· ·thereupon examined upon her oath by counsel for the

10·   · · · · · · ·12:42 p.m.)                                    10· ·parties; that her examination was recorded in Stenotype

11                                                                11· ·by me and reduced to computer printout under my

12                                                                12· ·direction; and that the foregoing constitutes a true,

13                                                                13· ·accurate, and complete transcript of such proceedings.

14                                                                14· · · · · I further certify that I am not related nor

15                                                                15· ·otherwise associated with any counsel or party to this

16                                                                16· ·proceeding, nor otherwise interested in the event

17                                                                17· ·thereof.

18                                                                18· · · · · · · ·Given under my hand and notarial seal this

19                                                                19· ·April 15, 2019, at Elizabeth City, North Carolina.

20                                                                20

21                                                                21

22                                                                22· · · · · · · · · · · · · · · · ·Bria L. Pintado

23                                                                23· · · · · · · · · · · · · · · · ·#200902300105

24                                                                24

25                                                                25



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            Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 17 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019 ·Index: $1,496.99..amount
                           54:6                   60:2
      Exhibits                                                                A
                       17     9:13            30th     46:1
 GarrettE - 1          18     9:7,9,16        37     7:20            a.m.     4:5
     3:6 6:5,7                                                       account      8:21
                       1963     46:1
 GarrettE - 2                                            5             47:6
                       1974    8:17
     3:7 38:15,                                                      acknowledged
                           35:2,6,13          50     59:16
     17                                                                48:2
                           57:19
 GarrettE - 3
                       1977    34:22                     6           address
     3:7 44:24                                                         6:19,20
                           35:6,13,21
     45:8                                     62     7:9
                           46:21                                     adhering
                           47:19                                       21:20
          $                                              7
                           48:17,25
                                                                     affidavit
 $1,496.99             1984     8:18          74     9:12              14:15
     46:13             1985     46:1                                   38:14,19,
 $226.06       47:3                                      8             22 39:17,
                                  2                                    24 40:5,16
          1
                                              8     47:1,2             44:23 45:9
                       2     38:15,17         80     53:9              47:9 48:2
 1     6:5,7                                                           57:23
                       20    12:4
 10    12:2,3              46:18                         9           Africana
     16:21                 50:6,9                                      24:8,16
     50:6,9                53:10              9     46:18              36:3,6
 10-pound              20-year        54:6    90s    12:8            age     7:12
     23:10             2018     45:16         94     13:15           agreement
 100     34:15                                                         4:4
                       2019     4:5
                                                         @
 11:29     4:5                                                       ahead  13:4
                       22     45:22
                                                                       27:16
 12    46:12,14        2nd     45:25          @business
     47:8                                         12:10              Ahoskie
                                                     36:20             19:22,24
 1208    4:6                      3           @I
                                                                     Albemarle
 12:42     64:10                              @karen         24:24
                       3    4:5 44:24                                  4:6
 13     7:9                45:8,23            @she     51:14
                                                                     amount       32:21
 15     12:4           30-minute                                       47:3


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        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 18 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019  ·Index: amounting..box
 amounting                34:14               bags  16:11              33:5,7,11
   46:13               assumed                  17:13 22:5          bold   6:20
 Amy  4:11                34:17                 23:9,10                45:8
   61:16               Assumes                based     57:25       Bonnie
 answers      26:9        35:10               bases     11:15          12:20,22
 anticipate            assuming               basically                55:13
   5:1 26:9               34:2 36:24            24:7 40:19             60:15,24

 anticipating          attached               basis  40:24          book     26:22
   9:23                   31:9 46:15            41:8,17             bookkeeping
 appears      46:2     attack        14:7       42:2,3                 11:3
                                                56:22 59:5          books     27:17
 approximately         attempt                  64:2
   46:13                  35:15                                     booth     63:19
                                              Beach  10:6
 April     4:5         attorney                 54:19               boss     25:15
 area  7:1,24             39:12                                     bottom
                                              bear     58:12
   13:9 15:25          aware   46:9                                    31:11,13,
   23:24 25:8             59:15,18            behalf     4:2           20 38:20
   53:3 55:19                                   32:11                  45:7,23
 areas  20:6                     B            bell     58:2         bought   18:2
   43:16                                      bend     32:8            20:10,16
                       back   4:23
 artist  44:9,                                big  11:6                21:4,6
                          5:8 11:21
   11 62:7                                      18:24,25               27:25
                          14:20
                                                31:19 32:7             28:14
 Arts  19:9               16:1,25
                                                33:23,25               29:15
   23:25                  21:25 23:8
                                                50:7                   33:7,11
   24:22                  33:2 39:23
                                                                       35:8 42:4
   25:14,21               40:2                bigger     18:6          44:5 50:23
   28:15,20               43:20,21
                                              bisque     24:15         62:14
   29:14 54:9          background
   59:21                                      bit  4:18             box   29:23
                          6:23
                                                9:15 11:2,             30:5,12,
 assemble              bad   5:13,21                                   13,14,15
                                                3,4 15:8,
   62:15                  26:7                  11 20:19               31:8,9,10,
 assert     45:13      bag   16:17              33:11 50:5             11,12,13,
                          17:4,8                59:20 61:6             14,15,16,
 assume     6:1
                          18:12                                        20 33:8,
   32:16                                      blister



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        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 19 of 35
                    KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                             Elaine Garrett on 04/03/2019  ·Index: boxes..ceramics
   23,25                  11:25 19:3            21:17               catalog
   34:3,6,10              44:1 54:5,            22:13,15               27:18
   43:3 58:10             7                     24:15               catch     10:22
 boxes  30:20,         busy     43:16           37:14 40:1
                                                                    ceilings
   21 32:22            buy   11:8,17          called     8:11          18:24
   33:24                  13:23                 11:13
   41:3,21                                      13:14 16:5          ceramic
                          16:11,15                                     11:4,17
   54:1 58:6              17:15                 19:9 39:3
                                                42:17                  25:10
 brand     24:6,          19:12,20
   17                     20:7,9,16,            52:24               ceramics
                          20,21,22,           Calls  49:12             8:11 9:8,
 break     53:8                                                        17 10:3
                          24 25:13,             54:15
 breakable                14,20 27:9                                   11:6,20
   22:25                                      car  16:23,              14:22
                          28:25                 24 18:10
 Bria     4:2             29:16                                        18:19 19:5
                          32:16               cardboard                20:2,12
 bring     33:2                                 30:17                  21:13
                          33:18
 brother      8:6         41:20,21              33:25                  22:2,15,16
   56:5                   42:11,15            Carolina                 23:23
                          50:1                  4:3,7 7:8              25:20
 brother-in-law
                          51:12,15              8:3 25:9               28:16 30:7
   14:7
                          53:4 54:1             53:12                  32:11,14
 brothers                                                              34:11,22,
                          62:8                  59:17
   56:6,8                                                              25 35:1,7,
                       buying        26:15    carried                  19 36:14,
 brushes
                          33:12                 28:15 36:5             22 37:6,
   20:17
                          43:4,5                                       16,22 38:5
                                              carry  24:20
 bucket                   49:10
                                                49:23                  40:21 41:6
   17:23,25
                                                                       42:1 43:12
   50:2                          C            carrying
                                                                       44:7 46:4,
                                                57:20
 buckets                                                               6,14 47:1,
   16:14               Cahoon   4:13          case  6:25               5,8,21,25
   18:4,7                 13:21 14:4            14:12,15               48:8,16,24
                          55:25                 34:20
 busier     15:8                                                       49:21
                          56:4,9,17             39:10
   61:2                                                                50:17,20
                       call   15:14             48:10                  51:2,5,19
 business                 16:6 19:11            56:17,23               52:2,5,12
   10:10,12               20:10                 62:23                  53:3,16

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 20 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019   ·Index: chance..county
   54:2,5,13           clients                competitors              12,13,16,
   55:5 57:18             19:16 52:6            23:23                  22 63:20
   58:15,21            close   59:24            25:7,10             congratulation
   59:25 60:5             60:25               complete              s 7:21 8:24
   61:7 64:4                                    45:6
                       closed      12:1                             contact
 chance     24:23                             completely               14:18
                       closing
 check     55:2                                 20:23                  56:24
                          12:15
 checks     37:23                               31:10               Continuing
                       coated      21:22
   55:4                                       concluded                46:11
                       College      4:5         64:9
 Chick-fil-a                                                        continuous
   17:8                color     23:5         conducted                40:24 59:4
 children              Columbus                 48:4                conversation
   7:23,25                58:1                cone    30:13            4:22 5:6
 Chowan     8:5        comfortable            cones  20:17          converted
                          45:19                 29:17,20,              18:22,23
 Christmas
   50:13               commencing               21,22,23            copy   6:7,15
                          4:4                   30:8                   45:6
 City  4:6                                      31:22,23
   7:6,8               companies                                    corner      45:8
                                                32:4,10,13
   9:20,21                26:14                                        46:19
                                                33:2,21
   20:6 46:8              27:1,9,16,
                                                34:7 35:8,          corporate
   55:20 57:5             18 35:24
                                                21 36:5                35:12,16
   59:16 60:4          company                  40:22,25               48:1,8
 classes                  8:11,12,22            41:4,7,12,          correct      35:5
   11:19,20               11:7,11               15,22                  42:23
   52:25 53:3             32:17 34:4            42:1,5,18,             57:16,21,
   60:12                  42:5 46:3,            22,25                  22 58:13,
                          6 47:2                49:10
 clay  15:15                                                           16 59:1,2,
                          49:9                  51:10,19,
   20:19                                                               6,10,22
                       competition              21,23 52:1             61:10,11
   28:10
                          19:9                  54:1                   63:17
 clean     22:24                                56:19,20
                       competitor                                   counsel      4:4
 clear     60:5                                 57:20,24
                          25:18                                        39:9
                                                58:2,6,8,
 Clemmons      8:7        54:22
                                                16,19,21,           county      8:4,
 client     48:7          59:19
                                                25 59:4,               5,7


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 21 of 35
                     KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                              Elaine Garrett on 04/03/2019     ·Index: couple..dump
 couple       4:21        53:19                 61:14                  19:8 21:7,
   12:24                daughter's            deposition               10 33:16
   27:22                  10:16                 4:1,19                 49:9
   30:18                                        6:4,8               distributors
   36:15                day     15:24
                                                38:14                  19:6 35:23
   45:17 55:9           days    6:13            44:23 64:9             59:15
   57:10
                        dealers               describe              document
 court  4:23              11:16                 16:8 29:20             38:18,24
   10:22                  20:10                 30:1,3                 39:1 45:1,
   26:11                  27:17                                        3,11 46:20
   43:6,9                                     describing
                          41:13,19                                     47:24 48:3
                          52:24 53:9            36:17
 created
                                              description           draft     39:24
   22:24                dealt     27:17
                                                31:7                Drayton
 curly     30:2         deceased                                       4:10,12
                          12:19               direct  45:21
 current      6:20                              47:6,20                6:6,10
   8:19                 December                48:15                  35:18
 customer                 45:25 46:1                                   38:16 39:8
                                              directed                 40:14
   15:4 50:3            Defendant               55:6
   52:8,16,                                                            43:10
                          45:10
   19,23                                      directly                 44:25
                        Defendants              32:17                  47:12
 customers                4:2                                          48:11,13,
                                                34:12,21
   20:8 25:13                                   35:20 37:4             20 49:3,15
                        delicate
   52:6,7,13                                    40:23                  53:20
                          20:24
   53:6,7                                       41:1,5                 54:17 57:7
                          22:16
   60:13                                        42:2 48:24             61:17,18
                        dementia
                                                49:10 61:9             63:7 64:8
          D               13:16
                                              discount              Drew   6:7
                        depending
 daily     45:25                                19:15                  39:6
                          50:7,8
                                                33:18               dried     16:18
 date     40:7          depends
                                              discovered            drive     60:2
 dated     45:25          50:6,14
                                                45:24
 daughter               deponent                                    dry   15:24
                                              dispute                  17:11
   9:22,24                39:6 40:12
                                                47:22                  18:12 22:5
   10:2 13:16             49:18
   26:22                  57:12               distributor           dump     15:20


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 22 of 35
                     KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                              Elaine Garrett on 04/03/2019 ·Index: Duncan..foundation
 Duncan                   16:12                 4:1,9               fill     16:14
   28:11,12,              45:10,15            exhibit      6:5,     fine     45:20
   18,20                Elaine  4:1,            7,18
   49:20,23                                                         finish      23:7
                          16 38:14              38:15,17               24:12
 dust     22:24         Elizabeth               44:24 45:8             26:10 31:7
 duties       14:23       4:6 7:6,8             46:20 48:4
                                                                    fire   20:17
   37:22                  9:20,21             expensive                23:4 24:13
                          20:6 46:8             33:8
                          55:20 57:5                                fired   23:1
          E                                   external
                          59:16 60:4                                   24:11 32:8
                                                58:10
 early  12:8                                                        firing      20:17
                        employed
   29:4,6,7                                                            22:17
                          41:10                        F
 ease     46:16                                                        41:23
                        employees
 easier  4:18                                 fact  21:15           fit     31:15
                          26:17
   8:25 26:12                                   30:11 58:5
                        employment                                  five-gallon
   45:6                                       facts     35:10          18:6
                          8:10,24
 Eason  12:19             40:24               fair  6:2             five-pound
   55:10                  60:16 61:4            59:3                   16:17 17:4
 Eastern      25:9      end     32:7          familiar              flap     31:8
 easy  4:25                                     54:20
                        ended     12:14                             flip     46:17
   26:9                                       family  7:23
                        entire     54:5                             folks   7:11
 eat  5:17                                      8:2 56:10
                        entries     46:2                               9:2 19:6
   57:5                                         61:8
                                                                       25:8
                        entry  47:16,         February
 Eddie  10:1,3                                                      follow-ups
                          19,20                 8:16
   11:24                                                               63:9
   12:13                equipment             feel  5:17
                          37:14                                     Forest      8:23
   26:5,13                                      13:6 45:18
   32:24                estimate                                    forgot      21:1
                                              figure       5:9
   35:24 38:1             53:5,25                                      24:20
                                                23:18
   43:22 49:8                                                       form   43:2,
                        evidence              figurines
   55:9                                                                7,8 47:11,
                          34:20                 50:13
 Edenton      8:3         35:11,12                                     23 48:18
   20:6                                       filed     4:13           49:1,12
                          47:24 48:9
 Edward       4:12                            filing       56:18    foundation
                        Examination



www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 23 of 35
                     KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                              Elaine Garrett on 04/03/2019  ·Index: four-inch..higher
   4:12 36:9              27:24               glossy     24:12
   38:6 43:8              28:6,19,23                                          H
                                              gloves     37:6,
   45:15,24               29:9,11,15            12                  half     9:12
   46:2,14                36:3,5,24
   47:7                   49:9,20             good  4:11            hand     31:2
   48:16,18               58:16                 7:1,13 9:4
                                                                    handle        18:1
   49:1,12                                      44:10
                        Garrett 4:2,                                handwritten
   55:6 57:25             11,16,17            gosh  6:12
                                                                       46:20
 four-inch                6:11 7:18             21:5
                                                                       47:19
   30:17                  8:9 38:14,          Gotcha     64:3
                          17 45:2                                   happen        5:21
 free  5:17                                   Grace     13:23
   13:7 45:18             48:14                                     hard   5:9
                          54:25               graduated                23:7 29:25
   57:14
                          61:15                 8:17 9:10
                                                                    hardened
 frequently                                     57:19
   59:13                gather     23:20                               15:21
                                              green     24:12
   60:11                gave     42:14                              hate   7:11
                                              greenware                23:13
 Friday       6:14      gee     7:8
                                                11:12
 friends      9:21      geez     57:4                               head     5:12
                                                15:4,23
   10:15                general 7:24            20:14               heads     5:6
 front     6:19           25:8 45:15            22:13,14,           hear     62:3
                                                23,25 23:3
 full     4:15          generally               24:14               heard   46:5
 furniture                37:14 54:4            27:15 50:5             54:21
   36:16,21             gentleman               51:11,16,           hearing
   37:3,18                55:14                 17                     25:15
                        give  5:1             ground     4:21       heart     14:7
          G               19:14               growing               helpful       5:16
                          32:20 63:2            43:17                  18:8
 G-A-R-E      21:6
                        giving     14:17      guess  11:15          hereto        46:15
 gallon  17:17
   20:25 21:1           glaze  23:4             25:9 53:12          Hertford       7:7
                          24:10                 60:11
 Gare  21:6,                                                        high   8:17
   10,14                glazes                guessing                 30:18
   23:8,9                 22:19,21              42:8                   57:19
   24:7,10              gloss     24:21                             higher        22:17
   26:15

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 24 of 35
                     KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                              Elaine Garrett on 04/03/2019  ·Index: hire..knowledge
 hire     15:7            44:6                  42:13               Karen's      14:8
 history      8:25      in-house                43:12                  56:8
                          22:5                  58:20               kiln   21:16,
 Hoffman
   12:20                inch     32:2         invoices                 18 23:1,4
   55:13                                        38:5                   29:9 32:9
                        inches     30:18                               36:16,20
   60:15                                      items  50:5
                        inclusive               51:6,8,9,              37:3,7,10,
 Holly  13:22             48:4                                         17,18,20
   20:4 28:24                                   12 59:9
   50:16                individual                                  kilns   20:17
   51:1,19                53:7                         J               21:8,11,
   52:7,24                                                             13,14
                        individuals
                                              January                  28:24
   53:15,22               52:7,9,14
                                                45:16                  29:14
   54:1 57:2
                        inevitably                                     36:19,25
   58:24                                      job  8:19
                          5:21                                         37:15
   59:7,24                                      14:23
                        information             37:21               kind   13:17
 home  18:23
                          23:20                                        14:5,25
   30:12                                      jobs     9:3
                          35:19 38:8                                   15:23
   33:10                                      journal
                          42:24                                        22:1,17
 hook     37:11           47:5,22               46:2,3                 24:21 61:1
 hospital                 48:15               journals                 63:23 64:1
   14:10                information's           45:25               kinds   7:4
   56:10,25               23:17                 46:21                  40:18
 hour     57:6          ingredients           jug     21:1          knew     54:21
 huh-uh       5:7         16:12 17:1          jump  13:18           knowing
                        intended                55:3                   48:23
 hungry       5:17
                          6:24 7:21           jurors       7:1
 husband      56:8                                                  knowledge
                          62:22
                                              jury     7:3             26:21 30:9
 husband's              interrupt                                      32:18 33:4
   7:17                   13:7                         K               37:8 44:20
                        introduce                                      48:15
          I                                   Karen  4:13
                          6:6 45:1                                     58:15,17
                          63:24                 13:21,24               61:9
 idea  7:2,13
                                                14:4,10
   17:5 18:13           inventory               55:25
   35:6 41:15             32:20                 56:9,17


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 25 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019   ·Index: labeled..Marie
                       liquid                   28:22                  39:24
          L               15:15,16              41:18               main     13:3
                          17:15                 47:13 49:6
 labeled                                                            maintain
                       Lisa   10:2,             50:3 54:3,
   38:19                                                               33:18
                          14,16,17              6 61:19
 ladies       19:24                                                 make   4:17
                          11:1 13:8,          longer       12:5
   55:13                                                               5:23 15:4,
                          16 55:22              61:6
 lady  12:20                                                           12 17:1
                       listed   6:19          looked       30:15       22:13 23:5
   18:1
                          46:3 47:3           lot  8:25                24:12
 large  4:4
                       literally                11:6,12                26:11
   18:19 23:9
                          5:7                   15:3 19:25             27:14
 largest                                        21:6,23                37:23
                       live   7:23
   60:13                                        27:7,8,16,             39:15 40:1
                          8:5 13:9,
 Lawson  44:23            12                    21,25                  45:6 50:4,
   45:9,14                                      32:19                  5 52:5
                       lived   7:2              33:8,15                55:2,24
 lawsuit      4:13        9:19 10:15            41:12,14,
                          18:22                                     makes     8:25
 leave     57:11                                20 45:12
                          44:11                 53:19               making      15:12
 ledgers
                          59:20,24              56:25                  35:14
   45:25                  60:4,24,25
                                              low  32:20            Man     55:15
 left-hand
                       lives   8:6              41:8 42:17          manageable
   45:22                  13:17
                                              lunch     5:18           18:3
 Lenslow
                       living      9:20         57:5                managed      60:8
   10:19                  55:17
 lettering                                    Lynchburg             manager      8:21
                       Lloyd     7:18           62:2 63:13             45:15
   6:20
                       load     18:2,3                              manufacturer
 letters      45:9
                       located  34:5                   M               20:25 21:4
 license
                          54:18 58:3                                   32:17
   19:13                                      made  11:13
                       log     35:10            16:8,9,16           manufacturers
 lid  17:18                                                            34:19 61:9
                       long   4:19              17:3,19,
   31:9,10,
                          7:2,19                20,21               Marie   10:1,3
   12,14,18
                          8:24 10:13            28:11 30:8             11:24
 lines     49:7           11:24,25                                     13:8,13
                                              mail  6:12
                          18:18                 38:25                  26:4,13


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 26 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019     ·Index: mark..object
   32:24                  14:12                 15,16               Norfolk  19:8
   35:24 38:1             17:11 18:9            60:22 62:8             24:2 54:19
   43:22 49:8             32:25                 63:17,25               59:19,21
 mark  38:18              36:2,15               64:2,4              north   4:3,6
   44:23 45:9          met     40:11          mom     56:15            7:7 8:3
 marked     6:4        mile     9:19          moment       11:22       25:9 27:1,
   38:14                                                               4,21 33:1
                       miles     59:16        monthly                  53:12
   44:23 45:7                                   41:17
                       mind   14:17                                    59:16 60:7
 married                                                               62:4
                          28:6                months       42:7
   7:15,19                                      62:19
   56:6                minutes                                      nosy   6:24
                          57:11               morning      4:11        7:13 62:22
 material
   18:12               mischaracteriz         mother  11:3          Notary        4:3
                       es 35:11                 13:22,25
   20:17                                                            notes     61:13
   24:14               misrepresent           motions      31:2     notice        6:4,8
   29:24 30:2             48:6
                                              moved  7:8            November
 materials             misrepresentat           10:6,14                34:22
   11:9 20:11          ion 35:14                43:22                  35:21
   26:3                mix   16:13              44:1,3,12,             46:21
   36:11,23               17:1                  15 58:1                47:17
   61:2                                                                48:17,25
                       mixed     22:4
 matte     24:20                                       N
                       mold   27:13,                                number
 matter  21:15            18 50:7,11          names  12:18             14:16,17
   30:11 63:4             62:4,5,10             13:1 35:25             17:17
 meant     13:6                                 46:6 55:9              40:20
                       molds   11:5,
                                                                       45:22
 meet     33:17           14 15:3,9,          naval     11:14          46:25 47:2
                          12,13,19,
 meeting      40:7                            Navy     44:2            56:23
                          21 20:15,
                                              needed       20:9        62:25 63:2
 member     56:10         16 27:1,6,
                          9,12,13,              42:14               numbered
 memory  7:22
                          19,24                 58:20                  45:22
   16:4 21:23
                          28:7,12               60:21
   50:15,19
   51:18                  33:15               nodded       49:18              O
                          50:4,9,12
 mentioned                                    nodding      5:12     object        48:11
                          51:12,14,


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 27 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019  ·Index: objection..period
 objection                7:6 10:5                                  paragraph
   35:10                  18:21                        P               40:20
   47:11,23            ornaments                                       45:14
                                              p.m.     64:10
   48:12                  50:13                                     paragraphs
                                              pack  33:6
 occasionally          Orton   4:12                                    45:22
                                                56:19
   27:20                  29:23                                     part   18:23,
   55:23                                      packaged
                          30:4,13                                      24 29:8
                                                58:9
 offered                  32:10,13                                     31:19
   57:15                  33:5 34:4,          packed       30:1        37:21
                          12,14,21              61:2
 Ohio  57:25                                                        part-time
   58:1                   35:7,12,20          packing                  60:21
                          36:9 37:4             29:24 30:2
 older     12:20          38:5,6,9                                  passed      12:12
                          40:22,23            packs     33:7,          55:10
 open  11:25
                          41:1,3,7              11
   12:3 24:2                                                        pause     5:2
   37:11 58:9             42:2 43:3,          pages     46:14
                                                                    payments
                          4 45:10,15          paint  17:17
 opened                                                                37:23
                          47:7,21,25            20:18
   30:21,23,                                                        people   11:8
                          48:5,7,16,            21:11,19
   24 31:9                                                             12:24 13:3
                          24 49:10,             22:20,21,
 operate                  11 51:19                                     15:7 16:13
                                                22 23:2,3
   43:25                  55:6                                         19:11,12,
                                                24:6,8,9,
 operating                57:20,24                                     13,18,20,
                                                12,13,15,
   37:7                   58:2,12,                                     22 20:4,7,
                                                18 28:14
                          16,19,21,                                    9,20 33:7,
 Oral     4:1                                   36:7 51:10
                          25 59:4,                                     16 53:1,2,
                                                64:5
 order  27:16             12,13,16,                                    10
   32:21,23               22 63:19            painting
                                                                    percent
   34:18 36:8                                   44:10
                       outskirts                                       34:15
   39:1                                       paintings                53:9,10
                          9:20
   42:18,21                                     44:14
                       owned     10:3                               percentage
 ordered                                      paints  20:15            53:5,8
   58:21               owner     9:25           21:7 22:17
                                                                    Perfect
 orders     16:1,      owners      10:2         28:20
                                                                       6:15,22
   2                                            29:16
                                                                       40:9 62:21
                                                33:17
 originally                                                         period      12:8


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        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 28 of 35
                    KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                             Elaine Garrett on 04/03/2019 ·Index: Perquimans..purchased
   19:17 29:7          porcelain              powder                products
   54:6 57:20             20:23                 16:11,18               8:23 15:12
   59:17                  21:5,8              practice                 17:11
 Perquimans               22:9,10,              61:7                   20:11
   8:5,6,8                11,16,22                                     22:1,4,8
                                              prefer     63:3          25:11 26:2
                       possibility
 personally                                                            27:5,25
                          23:15               prepackage
   36:8                                         17:18                  28:19,21
 phone  14:16          post     36:17                                  33:2 35:25
                                              prepackaged
   39:2,16             posts   21:17                                   44:18 46:3
                                                20:22
   40:5 62:25             36:22                                        49:8,20,22
                          37:18               prepare                  50:12,23
 pick  16:25                                    14:14 39:1             60:9 61:10
   27:1,19             potential
                                              preparing                62:14
 picked     31:18         7:3
                                                39:17               profession
                       pottery
 picking                                                               44:13
                          11:13               pretty     4:25
   31:19                                        18:25
                          15:15 19:9                                programs
 Pintado      4:3         20:20                 29:6,14                20:1
 place  18:25             23:25                 50:22 59:8
                                                                    promise      45:3
   47:25                  24:22               price     33:19
                          25:14,20                                  public      4:3
 places  20:21                                prior  8:10              11:5
                          28:15,20
   27:23 36:3                                   35:21
                          29:14 54:9                                pulled      31:6
   41:13                                        48:17,25
                          59:21                                     purchase
 Plains  27:10                                  56:12
                       pour   15:3,                                    17:14
   28:1,7                                     process
                          19 16:2                                      26:23 27:5
   33:1 62:5,                                   15:23 38:9
                          20:15                                        32:10,16
   7                                          product
                          27:14                                        33:1 35:25
 plaques                  51:11                 16:3,16                36:4 44:18
   50:13                  60:21                 20:24                  50:20,24
 pleasantries                                   22:18                  51:6,8,9,
                       poured      11:5
   40:17                                        24:12                  21,22 52:1
                       pouring                  28:10,15               59:4,9
 point  5:20              15:3,9,11             49:24                  60:9 61:9
   14:14 32:7                                   50:16,20
                       pourings                                     purchased
   46:24                                        63:24
                          50:7                                         18:11
 pool     7:3


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 29 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019 ·Index: purchasing..remember
   21:15                                      reask     47:14          50:19
   35:7,20                       Q
                                              reason     6:25       referenced
   36:23 37:4                                                          47:9 51:25
                       question               receipt
   40:23,25                                                            52:16
                          5:24 9:6,             45:25
   41:4,7
                          24 16:7                                   referencing
   42:1 48:24                                 receipts
                          30:25 31:7                                   29:21
   49:8 51:10                                   46:3,21
                          45:17
   58:16                                                            referred
                          47:13               receive 6:12
   59:12,13                                                            13:14
                          49:25                 38:24 58:8
   62:13
                          52:4,11                                   reflecting
                                              received
 purchasing               62:21                                        46:15
                                                34:11
   26:2,6,14,
                       questions                38:25               refresh
   18 38:9
                          5:1,21,23,            39:23                  57:24
   42:25 49:2
                          25 6:23             receiving             regular
   50:16
                          23:22                 33:20                  22:12,15
   51:19
                          25:19 26:9                                   40:23 41:8
 purpose      32:9                            recently
                          45:12                                        42:2,3
   63:16                  57:8,9                45:24
                                                                       59:4
 purposes                 61:16 64:7          recollection
                                                                    regularly
   4:23 6:24           quota   33:17            50:15
                                                51:18                  59:8
   26:8                   42:10
                                                57:24               related      14:1
 put  6:18
                                              record  4:15             56:5
   15:22,25                      R
   21:18                                        5:2 9:4             relationship
   23:3,4              railroad                 31:4 35:13             55:25
   24:11                  16:23                 40:21               remember
   33:23                  18:10                 62:25                  5:15 13:1
   37:19               raw     11:9             63:3,4,6               17:4,6,10
 pyrometric            Ray   12:19,           recorded      5:8        18:13
   31:23                  22 55:10            records                  19:24
   35:20                                        34:21                  21:3,23
                       read   45:3,                                    23:22
   40:22
                          4,10,18,23          refer     15:1           25:12,15
   63:20
                          47:4,10                                      27:22
                                              reference
                       ready     15:21          45:13                  28:4,5,8,
                       real     22:16           46:16                  10,16,21,


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 30 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019 ·Index: remembered..shipment
   24 29:1,6,          representing           rules     4:22           15:16
   9,22 30:4,             39:10,14                                     17:13,16
   14,21               required                        S               19:14
   31:22,25               22:17                                        20:12,15,
   33:4,6,12,                                 sale  15:25              25 21:13
   20,22 34:3          resale      25:25        32:15 33:3             22:1,5
   35:22               response      5:1        34:25                  25:23
   37:12,13                                     62:10                  28:18 30:7
                       responsibiliti
   43:5,11             es 14:23               sales  8:21              36:16 37:6
   44:4 49:5,             26:1 37:22            14:25                  52:19,25
   21 50:24                                     15:10,25               53:11
   51:9,22,25          responsible                                     54:12
                                                34:21
   53:16,21               26:2 38:2
                                                35:13 61:1          selling  19:5
   54:7,8              retail   11:8                                   28:17,24
   57:20                                      school  8:17
                          19:12,18,                                    49:21
   58:24                                        9:10 19:25
                          19,20 20:8                                   63:22,24
   60:18                                        57:19
                          52:7,9,16
   62:18                                        60:20               send     27:18
                          53:1,6,10
                                              schoolhouse           sense     5:23
 remembered            retailers
   28:21                                        18:21 44:6
                          53:11                                     separate
                                              schools      20:1        31:12
 remodeled             retired      44:3
   44:6                                       seal     24:21        set     19:21
                       revisions
 reordered                40:1,2              Sealey  35:9          shake     5:6
   32:22                                        39:7,9
                       Ricky   12:21,                               shape     29:25
            5:22                                40:10
 repeat                   22 55:13,                                 share     62:25
                                                43:2,8
 rephrase                 14 60:15,
                                                47:11,23            sheet     42:14
   5:22                   19
                                                48:18
                       right-hand                                   shelf   15:22
 reporter                                       49:1,12
                          45:8                                         21:20,22
   4:24 10:23                                   53:18
                                                                       33:24
   26:11               ring     58:2            54:15
   43:6,9                                       57:8,10,13          shelves
                       Road   4:6                                      21:18,19
                                                61:12,15
 represent                24:24                                        37:19 58:9
                                                63:8,10
   4:12 39:7              54:19
                                                64:6                ship     27:24
 representative        round     21:1
                                              sell  11:14           shipment
   48:1,9
                                                12:10

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 31 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019   ·Index: shipped..stayed
   33:20               shut     32:8          smaller      18:4     specifically
   34:11               side   45:22           sold  11:5,              39:22
 shipped                  46:17,19              6,12 19:2,             57:25
   27:7,8                 60:4,5                6,17,20,22          speculation
   34:1                signature                20:14,16,              49:13
 shop  11:5               38:20                 19 21:14,              54:16
   12:15                                        16 22:18            spellings
                       signed      48:2         24:6,7
   13:12                                                               10:23
   18:24               similar      52:4        25:10
                                                27:25               spells      57:23
   19:13               simply      47:4
   25:18                                        28:19,20            spoke     57:3
                       sister-in-law            29:10,12,
   29:5,16                                                          spray     24:19,
                          14:9 56:1             13,14,17
   52:24                                                               20
   53:15               sit     15:20,           34:21
                          24                    36:15,24            square      29:22
 shop's     13:13                               37:16                  30:17
                       size   31:15,
 shops  11:17                                   40:22               stack     58:9,
                          22,25
   19:20,21                                     41:12,14,              19
                          50:11,12
   20:5 35:24                                   15,24
                       skinny      32:4                             stand     63:19
                                                42:6,10
 short     12:24
                       slip   15:14,            44:18 46:2          started  4:14
 show  6:11                                     51:16                  8:14,16,18
                          16 16:3,6,
   27:13                                        52:13,18               9:7,9
                          15 17:2,
   38:17 45:2                                   54:13                  10:9,11,12
                          15,18 18:2
   62:2,9,11                                    59:22                  12:21 35:1
                          20:12,22
   63:15,16                                                            43:11,13,
                          22:4,8,13           sort  31:6
 showed     47:16         23:10                                        15,17
                                                62:11
                          27:14                                        57:18
 showing                                      sounds     25:1
                          28:10                                        60:20
   47:20                                        54:20
                          29:19                                     starting
 shown     45:7           49:24               Southeast                34:22
 shows  32:25             50:2,16,23            25:10
                                                                    state     4:3,14
   33:13,14               51:10               speak     5:3
   61:21,25                                                         states   40:21
                       slipped                  39:2
   62:5,7                                                              45:14,24
                          31:19               speaking                 46:11
   63:11,16,
                       small   17:25            48:11
   23                                                               stayed      31:10
                          30:20


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 32 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019     ·Index: stilts..Terry's
 stilts                   22 37:6,            stuff     21:20          13 20:13
   21:17,21               16,22 38:5            30:2                   39:18
   36:17,22               40:22 41:6          subpoena      6:9        40:4,6,17
   37:18                  42:1 43:12                                   49:20
                          46:4,6,14           suit     56:18           52:6,21
 stock     42:6
                          47:6,8,21           supplied                 54:10
 stocked                  48:1,8,16,            23:9                talking      4:23
   58:21 59:5             24 49:21
                                              supplier                 28:23
 stop     5:14            50:17,21                                     31:23
                                                34:13
                          51:2,6,20
 store  11:25                                 suppliers             tall     18:24
                          52:2,6,12
   18:19                                        37:24
                          53:16                                     tank     16:13
   24:23,25
                          54:2,5,13           supplies
   25:4 26:2                                                        taught      52:25
                          55:5 56:14            11:9,17
   44:19                                                               60:12
                          57:18                 13:24
   52:19                                                            teach     20:1
                          58:15,22              21:16
   54:9,10,18
                          59:25 60:5            25:11               teaching
   58:25
                          61:8                  29:17 36:6             11:19
   59:5,8
                       Stuart   10:1,           41:20               technical
 stores     49:10                               44:18
                          3,16 11:1,                                   40:15
 Street     4:6           24 13:8,14            52:25 53:4
                                                                    telling
 Stu-doodle               16:12               Support      45:9        49:24
   8:11 9:8,              26:4,5,13
                                              surrounding
   18 10:4                32:20,24                                  temperatures
                                                20:6                   41:23
   13:24                  35:24 38:1
   14:22                  42:17,21,                                 tenure      54:6
                          25 43:22                     T
   18:20
                          49:8 55:9,                                terms   18:20
   19:5,10                                    taking       5:18
                          22 58:20                                     19:2,16
   20:12
                          61:8                talented                 22:3 23:23
   21:13
                                                44:14                  26:1 35:23
   23:24               Stuarts                                         51:14 52:5
   25:20                  61:19,21            talk  4:24
                                                                       54:4 55:25
   28:16 30:7                                   8:10 25:16
                       stuck     28:5                                  60:16
   32:11,14                                     26:10
   34:12,22,           students                 39:16               Terry   14:8
   25 35:1,7,             52:25                 56:25                  56:1,6
   20 36:14,              53:2,23             talked       14:3,    Terry's



www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 33 of 35
                   KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                            Elaine Garrett on 04/03/2019     ·Index: test..unpack
   56:3,5,8               19:16                 43:21 55:4             33:5 41:21
 test  7:22               24:23               torn    13:13            42:18
   16:4 18:15             26:23 27:3                                   52:12
                          28:22 29:7          total     46:12          54:13
 testified                38:4 40:2,                                   62:15
                                              touch     55:22
   35:16                  6 41:10,18            63:1
 testify                  49:6 52:1,                                          U
                                              town  16:24
   35:15                  3 54:1,3,
                                                26:25 57:5
   57:15                  24 55:2                                   uh-huh        5:7
                                                60:7
   62:24                  56:12                                     uh-uh   17:20
                          57:2,6,20           trade  15:2
 testimony                                                             25:24 37:8
                          58:18                 62:11
   35:11                                                               38:7,13
                          59:17               transaction              46:7
 thing  11:7,             60:1,19               47:20,25
   20 17:15               63:7,13                                   um-hmm        6:17
                                                48:7
   22:19                                                               17:14
                       times   26:24          transactions             21:12
   45:4,5
                          27:7 32:19            46:12,15               28:25 30:6
 things  4:17             33:16                 47:7,8                 33:22 35:3
   7:4 22:20              62:3,17               48:4,15                43:24
   25:20
                       tiny     32:1          trial  6:25              46:10,23
   29:25
                                                62:23                  47:18
   36:15,16            title     14:24,
                                                                       50:18
   40:18 45:6             25                  triangle
                                                                       51:16,21
   54:13               today   8:10             29:25 32:6             55:11,23
 thinking                 40:10               turns     24:14          56:2 58:14
   12:9 21:6              57:14,15                                     59:10,14
                                              two-gallon
   24:1                told   49:19                                    60:14
                                                17:23 50:2
 thought      62:9        56:18                                        63:18 64:1
                                              type  11:13
 time  4:25            tools     37:14          15:15               understand
   5:4,18                                       20:20 22:8             8:11 13:16
                       top   30:22,
   8:12 9:19                                    23:2,7                 55:24
                          23,24
   10:2 11:6,             31:8,13               24:9 30:14          understood
   20 12:8,               45:8                  38:22                  6:1
   17,23                  46:12,19,             43:25               Universal
   14:6,11                21,22                 52:8,13,18             8:23
   15:8
                       topic     13:19        types     30:7        unpack        33:23
   18:16,18


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 34 of 35
                     KAREN CAHOON vs EDWARD ORTON, JR., ET AL.
                              Elaine Garrett on 04/03/2019     ·Index: Upton..York
 Upton  12:21           wash  21:19             3,11,14                14:4,6
   55:13                  37:19               wife     14:8            61:22
   60:15                waste     55:2                                 62:17
                                              Winslow
                        water     17:1          10:18,20,           years   7:9,20
          V                                                            9:7 12:4
                        ways     50:14          21
                                                                       29:4 61:4,
 verify       34:9                            winter       62:19
                        weather                                        22
 versus       52:9        40:18               Witchduck             York     28:2
   53:6                                         24:24
                        Webster
 Virginia                 28:24                 54:18
   10:6 19:22             50:16               word     36:21
   24:1,24                51:1,19             work  8:22
   25:10                  52:8,14               11:1 26:22
   43:23                  53:7,10,              39:19 47:5
   44:1,12,17             15,22 54:1
   53:13,14               57:2 59:24          worked  8:12,
   54:9,19                                      18 11:4
                        week  51:4              12:24 14:8
   62:2
                          52:1 59:8             15:9 38:10
 visit  24:25             60:9                  54:24
   25:4 54:10
                        weekend     27:2        56:14
 volunteering                                   60:24 61:1
                        Weekly     41:17
   7:12
                        Westerville           working 8:15
                          58:1                  9:7 10:12
          W
                                                12:16,17
                        wet  17:18              14:22 35:1
 wait     15:5            49:24                 38:4 39:17
 waiting                  50:2,16
   40:13                                      worth     50:2
                        white  4:16
 walk-in      15:2        27:10               write     37:23
   20:8                   28:1,7              written      55:4
 walked       40:10       29:23
   63:14                  30:16 33:1                   Y
                          62:5,6
 wanted       33:10                           year  7:9,20
   39:14                wholesale
                                                9:12 10:7,
   56:23,24               11:7,10,15
                                                12 12:13
                          15:2 19:2,


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
        Case 2:17-cv-00063-D Document 63-2 Filed 05/21/19 Page 35 of 35
